   Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 1 of 127
Ognjen Milanovic                                          March 15, 2023

                                                                     Page 1
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

      RANDY LUNDY,                 )
                                   )
                Plaintiff,         )
                                   )
      vs.                          ) NO. CIV-22-699-F
                                   )
      HL MOTOR GROUP, INC.,        )
      HIGHLIGHT MOTOR FREIGHT USA, )
      INC., OLD REPUBLIC INSURANCE )
      COMPANY, AND                 )
      OGNJEN MILANOVIC,            )
                                   )
                Defendants.        )
      _____________________________)
                                   )
      FARMERS MUTUAL FIRE          )
      INSURANCE COMPANY OF OKARCHE,)
                                   )
                Plaintiff,         )
                                   )
      vs.                          ) NO. CIV-22-752-F
                                   )
      HL MOTOR GROUP, INC., AND    )
      OGNJEN MILANOVIC,            )
                                   )
                Defendants.        )
      _____________________________)



              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF
                             OGNJEN MILANOVIC
                       LOCATED IN BELGRADE, SERBIA
                   TAKEN ON BEHALF OF THE PLAINTIFFS
                             ON MARCH 15, 2023
                 REPORTED BY:      JANA C. HAZELBAKER, CSR



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      Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 2 of 127
Ognjen Milanovic                                             March 15, 2023

                                                                        Page 2
  1                           A P P E A R A N C E S
  2
         (All parties are appearing via videoconference.)
  3
  4      For the Plaintiff,                 Gerard F. Pignato
         Farmers Mutual Fire                Ryan Whaley
  5      Insurance Company                  400 North Walnut
         of Okarche:                        Oklahoma City, OK 73104
  6                                         (405)239-6040
                                            jerry@ryanwhaley.com
  7
  8
         For the Defendants,                Michael T. Franz
  9      HL Motor Group,                    Lewis Brisbois
         Ognjen Milanovic,                     Bisgaard & Smith
 10      and Old Republic                   550 West Adams Street
         Insurance Company:                 Suite 300
 11                                         Chicago, IL 60661
                                            (312)463-3329
 12                                         michael.franz@
                                               lewisbrisbois.com
 13
 14
         For the Plaintiff,                 Rodney Stewart
 15      Randy Lundy:                       Stewart Law Firm
                                            801 N.W. 63rd Street
 16                                         Suite 100
                                            Oklahoma City, OK 73116
 17                                         (405)601-6060
                                            rstewart@rstewartlaw.com
 18
 19
         Videographer:                      Bruce Rodgers
 20
 21
         Also Present:                     Joanne Butterworth
 22                                           Legal assistant
                                           Gerald Knecht
 23
 24
 25

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      Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 3 of 127
Ognjen Milanovic                                             March 15, 2023

                                                                        Page 3
  1                               C O N T E N T S
  2                                                                      Page
  3      Index of Exhibits ..........................                      4
  4      Stipulations ...............................                      5
  5      Direct Examination by Mr. Pignato ..........                      6
  6      Direct Examination by Mr. Stewart ..........                     75
  7      Reporter's Certificate .....................                    127
  8
  9                                 * * * * * *
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
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      Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 4 of 127
Ognjen Milanovic                                             March 15, 2023

                                                                        Page 4
  1                             INDEX OF EXHIBITS
  2                                                                     Page
  3      Exhibit Number 1 (Driver logs) .............                     38
  4      Exhibit Number 2 (Photo, Farmers Mutual 0377)                    56
  5      Exhibit Number 3 (Photo, Farmers Mutual 0374)                    57
  6      Exhibit Number 4 (Photo, Farmers Mutual 0378)                    58
  7      Exhibit Number 5 (Photo, Farmers Mutual 0375)                    58
  8      Exhibit Number 6 (Photo, Farmers Mutual 0376)                    59
  9      Exhibit Number 7 (Photo, Farmers Mutual 0379)                    59
 10      Exhibit Number 8 (Photo, Farmers Mutual 0380)                    60
 11      Exhibit Number 9 (Photo, Farmers Mutual 0382)                    60
 12      Exhibit Number 10 (Photo, Farmers Mutual 0383)                   61
 13      Exhibit Number 11 (Photo, Farmers Mutual 0384)                   61
 14      Exhibit Number 12 (Photo, Farmers Mutual 0385)                   61
 15      Exhibit Number 13 (Google Maps aerial photo)                     62
 16      Exhibit Number 14 (Accident Report, Farmers
            Mutual 0333 through 0339) ...............                     64
 17
 18                                 * * * * * *
 19
 20
 21
 22
 23
 24
 25


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      Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 5 of 127
Ognjen Milanovic                                             March 15, 2023

                                                                        Page 5
  1                         S T I P U L A T I O N S
  2                   IT IS HEREBY STIPULATED AND AGREED by and
  3      among the attorneys for the respective parties hereto
  4      that the videotaped videoconference deposition of
  5      OGNJEN MILANOVIC, may be taken on behalf of the
  6      Plaintiffs, on MARCH 15, 2023, located in BELGRADE,
  7      SERBIA, by Jana C. Hazelbaker, Certified Shorthand
  8      Reporter within and for the State of Oklahoma,
  9      pursuant to Notice.
 10                   IT IS FURTHER STIPULATED AND AGREED by and
 11      among the attorneys for the respective parties hereto
 12      that all objections, except as to the form of the
 13      question, are reserved until the time of trial, at
 14      which time they may be made with the same force and
 15      effect as if made at the time of the taking of this
 16      deposition.
 17                                 * * * * * *
 18
 19
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 25


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      Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 6 of 127
Ognjen Milanovic                                             March 15, 2023

                                                                        Page 6
  1                             OGNJEN MILANOVIC,
  2      having been first duly sworn at 1:39 p.m. CST,
  3      deposes and says in reply to the questions propounded
  4      as follows, to wit:
  5                            DIRECT EXAMINATION
  6      BY MR. PIGNATO:
  7            Q      Would you state your full name, please?
  8            A      Milanovic, Ognjen.
  9            Q      And is Milanovic your last name, sir?
 10            A      Yes.
 11            Q      Okay.    And Ognjen is your first name?
 12            A      Yes, sir.
 13            Q      Can you tell us where you are currently
 14      located, in terms of a country and a -- and a city?
 15            A      Serbia, Belgrade.
 16            Q      Belgrade, Serbia?
 17            A      Yes, sir.
 18            Q      Now, we're taking your deposition today on
 19      March 15, 2023.       Do you -- first of all, do you agree
 20      with that date, that that's today's date?
 21            A      Yes.
 22            Q      All right.     Do you understand, sir, that I
 23      am taking your deposition today in connection with a
 24      lawsuit that has been filed by my client, Farmers
 25      Mutual Fire Insurance Company of Okarche against you


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      Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 7 of 127
Ognjen Milanovic                                             March 15, 2023

                                                                        Page 7
  1      and Highlight Motor Group.
  2                   Do you understand that?
  3            A      Yes.
  4            Q      Okay.    Now let me ask this.       Have you ever
  5      given a deposition like this before?
  6            A      No.
  7            Q      Have you prepared anything -- or, I'm
  8      sorry, have you reviewed anything in preparation for
  9      your deposition today?
 10            A      I don't think so.
 11            Q      All right.     All right.     Well, I want to ask
 12      you questions today relating to the accident that
 13      occurred back on August 8, 2020, and some related
 14      issues.
 15                   Do you understand that?
 16            A      I do.
 17            Q      All right.     First let me go over some
 18      background questions with you.           You've explained that
 19      you're currently in Serbia.          Do you live in Serbia?
 20            A      I do.
 21            Q      How many months of the year do you live
 22      there?
 23            A      Depends.     I'm from here.      Depends.
 24      Sometimes more than less, but for the last few
 25      months, here, yes.


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      Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 8 of 127
Ognjen Milanovic                                             March 15, 2023

                                                                        Page 8
  1            Q      Well, are you --
  2            A      I have dual citizenship.
  3            Q      I was going to ask that question.           But can
  4      you tell me, on average, if possible, how many months
  5      a year you spend in Serbia?
  6            A      Maybe half and half, let's say.
  7            Q      Okay.    All right.     What do you do for a
  8      living in Serbia?
  9            A      As of now, nothing.
 10            Q      I don't know what you mean by "as of now."
 11      Are you currently employed?
 12            A      No.
 13            Q      When is the last time you were employed in
 14      Serbia?
 15            A      Several years ago.
 16            Q      You've explained that you're in Serbia
 17      today giving your deposition and we're doing this by
 18      way --
 19            A      Yes, sir.
 20            Q      -- of Zoom.     How long have you been in
 21      Serbia prior to today?
 22            A      Maybe a month.      I went to Canada for maybe
 23      a week and then I came back.
 24            Q      Now --
 25            A      And before that, maybe three, four months.


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      Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 9 of 127
Ognjen Milanovic                                             March 15, 2023

                                                                        Page 9
  1            Q      You've explained that you are not currently
  2      employed in Serbia.        Can you tell us --
  3            A      No.
  4            Q      Excuse me?     Okay.
  5                   Can you tell us what you do in Serbia, why
  6      you go back to Serbia?
  7            A      I live here.
  8            Q      Do you have family there?
  9            A      I do.
 10            Q      All right.     Are you a married man?
 11            A      No.
 12            Q      All right.     Children?
 13            A      No.
 14            Q      Do you know how long you will be in Serbia
 15      before you return to Canada or any other country?
 16            A      No.
 17            Q      You don't have any immediate plans to leave
 18      Serbia?
 19            A      No, I do not.
 20            Q      All right.     You said a few minutes ago that
 21      you have dual citizenship.          One of the countries is
 22      Serbia.     What is the other country?
 23            A      Canada.
 24            Q      How long have you had dual citizenship?
 25            A      Since I was a kid.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 10 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 10
  1           Q      Why do you have dual citizenship?
  2           A      What do you mean, why?
  3           Q      Is there a particular reason why you chose
  4   to obtain dual citizenship, Serbia and Canada?
  5           A      I -- I grew up in Canada.      I was born in --
  6   here.
  7           Q      Your family and you grew up in Canada?
  8           A      Correct.
  9           Q      All right.    Let's talk a little bit about
 10   your education, too.         Did you go to school in Serbia
 11   or in Canada?
 12           A      Both.
 13           Q      All right.    What about schooling, like high
 14   school.       Did you attend high school in either
 15   country?
 16           A      Yes.
 17           Q      Which country?
 18           A      Canada.
 19           Q      Did you graduate from high school?
 20           A      Yes.
 21           Q      Did you do anything in terms of schooling
 22   after high school?
 23           A      Yes.    Here I went, so -- yeah, here I went,
 24   in Serbia, yes.
 25           Q      All right.    Tell me.   I'm trying to better


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 11 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 11
  1   understand what additional schooling you obtained,
  2   either in Canada or in Serbia.
  3          A      I don't understand what this has to do with
  4   the claim, though.
  5          Q      Yeah.   Well, I'm going over some
  6   background, general background questions right now
  7   that will help me better understand the claim and the
  8   lawsuit I think.
  9          A      Here I attended a linguistic school.             But,
 10   again, I don't understand how it's relevant, though.
 11          Q      Well, you have an attorney, a very capable
 12   attorney who is participating in this deposition with
 13   you, and if he believes I'm overstepping my bounds he
 14   will tell me and he will object.           And he may tell you
 15   not to answer, under the right circumstances, and I
 16   haven't heard him do that yet.
 17          A      Okay.
 18                 MR. FRANZ:     That's correct, Milanovic --
 19                 THE WITNESS:     Yeah, linguistic school --
 20                 MR. FRANZ:     -- Mr. Milanovic.     Go ahead.
 21   Go ahead.
 22                 THE WITNESS:     Linguistic school over here,
 23   yes.
 24          Q      (By Mr. Pignato) Did you get any kind of a
 25   degree in linguistics school?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 12 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                 Page 12
  1           A      Some type of certification.       I never
  2   finished.
  3           Q      All right.    And then tell me about your
  4   first employment.         Do you -- can you -- how old a man
  5   are you, first of all.
  6           A      Thirty-eight.
  7           Q      All right.    So you're a young man.        What
  8   was your first employment?
  9           A      In general, like -- oh, I cannot see --
 10   hold on one second.         Okay.
 11                  The first one, like, ever?
 12           Q      Well, say when you were in high school.
 13   Did you drive a truck?
 14           A      No.    I think the first was at a shoe store.
 15           Q      All right.    Approximately how old were you
 16   then?
 17           A      I wouldn't know.     Maybe 17, 18.
 18           Q      All right.    And when were -- how old were
 19   you when you first obtained a driver's license?
 20           A      Seventeen-ish.
 21           Q      All right.    What country was that in?
 22           A      Canada.
 23           Q      Did you eventually also get a driver's
 24   license in Serbia?
 25           A      Yes.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 13 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 13
  1         Q      All right.    So do you currently have two
  2   valid driver's licenses?
  3         A      I think I only use the Canadian one.
  4         Q      All right.    Is your Serbian driver's
  5   license valid today?
  6         A      I'm not sure.
  7         Q      To the best of your --
  8         A      You can use any -- you can use any
  9   countries in Europe.
 10         Q      All right.    So you can -- you can use your
 11   Canadian driver's license in Serbia?
 12         A      Yes.
 13         Q      Have you ever had a driver's license in any
 14   other country?
 15         A      No.
 16         Q      Have you ever had a driver's license
 17   suspended?
 18         A      No.
 19         Q      Canceled?
 20         A      No.
 21         Q      Now, at some point in time did you get a --
 22   what we call here a CDL license?           Do you understand
 23   what that is?
 24         A      Yes.
 25         Q      What does that mean?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 14 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 14
  1          A      A commercial one.
  2          Q      Yes.   Tell me, when did you first get your
  3   CDL?
  4          A      Like, six years ago, something like that.
  5   Seven something.        I don't remember exactly.
  6          Q      In what country?
  7          A      Canada.
  8          Q      What did you do in order to get that
  9   license?
 10          A      Classes and a road test.
 11          Q      In Canada?
 12          A      Yes.
 13          Q      Was it your desire at the time to drive a
 14   truck?
 15          A      Yes.
 16          Q      In other words, is that why you wanted a
 17   CDL?
 18          A      Yes.
 19          Q      You wanted to be able to drive one of those
 20   big rigs?
 21          A      Yep.
 22          Q      So you've told me approximately when you
 23   obtained your CDL.         Has your CDL --
 24          A      Approximately.
 25          Q      Excuse me?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 15 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 15
  1         A      Approximately, yes.
  2         Q      Yes.   Yes.
  3                Has your CDL ever been suspended?
  4         A      No.
  5         Q      Or canceled?
  6         A      No.
  7         Q      Or revoked for any reason?
  8         A      No.
  9         Q      Have you been subject to any disciplinary
 10   action as a -- as an over-the-road truck driver in
 11   the past seven years?
 12         A      No.
 13         Q      Now I want to talk to you also about your
 14   medical background and history.
 15         A      Uh-huh.
 16         Q      You have lived in both Canada and Serbia
 17   growing up, if I understand you correctly, right?
 18         A      Yes.   Yes.
 19         Q      And did you have a family doctor, either in
 20   Canada or in Serbia?
 21         A      No, I don't think so.
 22         Q      In other words, whenever you had a flu or
 23   an ear infection or sore throat, was there a doctor,
 24   a family doctor that your parents took you to?
 25         A      I don't think so.      Just -- Canada is


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 16 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 16
  1   different than states.          It's just like an emergency
  2   room type thing.
  3           Q      All right.     And I haven't asked this
  4   question yet and I meant to.          Where in Canada did you
  5   grow up?
  6           A      In southern Ontario, Toronto area.
  7           Q      All right.     Is Toronto your hometown when
  8   you're in Canada?
  9           A      Yes.    Yes.   When I'm in there, yeah, I stay
 10   in Toronto.
 11           Q      Do you still have family in the Toronto
 12   area?
 13           A      No.
 14           Q      All your family's currently in Serbia?
 15           A      Yes.
 16           Q      Well, if you don't have any family in
 17   Canada, why do you go back to Canada?
 18           A      I don't know.     To work, see friends.
 19   Canada is economically more advanced than
 20   southeastern Europe.
 21           Q      You stated at the beginning of your
 22   deposition that you just recently returned to Serbia
 23   from Canada.          Do you recall saying that?
 24           A      I do.
 25           Q      Why were you in Canada?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 17 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 17
  1          A     For personal reasons.
  2          Q     Any reasons relating to your -- your
  3   health?
  4          A     No.   No.
  5          Q     No medical reasons?
  6          A     Just the -- no, no, no, no.          No, not at
  7   all.
  8          Q     Have anything to do with your employment?
  9          A     No.
 10          Q     So I was asking you whether or not you had
 11   a family doctor growing up.          And you've --
 12          A     Uh-huh.
 13          Q     -- answered that question, I think.
 14                Have you ever had a doctor, a general
 15   physician check your blood work, take X-rays, just
 16   determine and check on your general health?
 17          A     I suppose so over the years, yes.
 18          Q     You haven't suffered any kind of major
 19   illnesses?
 20          A     No.
 21          Q     And you haven't suffered any injuries,
 22   major injuries that would have caused you to be
 23   hospitalized?
 24          A     Nothing major.      Like, sprained ankle, hurt
 25   myself skiing once.        Other than that, nothing major,


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 18 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                 Page 18
  1   no.
  2         Q      Now, I know you went to the hospital
  3   briefly after the accident that we're talking about
  4   in this case.      But --
  5         A      Correct.
  6         Q      -- aside from that, have you ever undergone
  7   a surgery, for example, at a hospital?
  8         A      I have, yes.
  9         Q      Tell me about that.
 10         A      I had my appendix removed when I was young,
 11   I think 12, 11, something like that, 13.             Yeah, early
 12   teens, let's say, I had my appendix removed.
 13         Q      In Toronto?
 14         A      Somewhere around that area.         I don't
 15   remember which hospital it was.
 16         Q      All right.     But it was in Canada?
 17         A      Yeah.
 18         Q      All right.     Any other surgeries that you
 19   can think of?
 20         A      No.   No.
 21         Q      Aside from anyone you saw as a result of
 22   this accident, do you know whether or not you've ever
 23   seen a heart doctor?
 24         A      No.
 25         Q      What about a neurologist?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 19 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 19
  1           A      Not that I know of.
  2           Q      Do you know what a neurologist does?
  3           A      Yeah, I'm aware.    My ex-girlfriend was
  4   actually a doctor, so I am aware of what a
  5   neurologist is.
  6           Q      Was she a neurologist?
  7           A      No, she was a cardio surgeon.
  8           Q      All right.    Did she ever talk to you about
  9   your own heart?
 10           A      Yes.
 11           Q      And the blood vessels surrounding your
 12   heart?
 13           A      Yes.
 14           Q      Did she ever do any tests on you, like an
 15   EKG or an echo study, anything like that?
 16           A      No.    My heart pressure and things like
 17   that.       Things that we did in the living room.
 18           Q      All right.    She checked your blood
 19   pressure?
 20           A      Yeah.
 21           Q      How is your --
 22           A      I have had a good -- good -- I have had
 23   a -- like a -- like a general checkup, you know, like
 24   men have.       I've had that before.      So -- yeah.
 25           Q      Where did -- where did you have that done?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 20 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 20
  1         A      Here and in Canada, I think.
  2         Q      When is the last time you had a general
  3   checkup done?
  4         A      I don't recall.       It's been a while.
  5         Q      I mean, several years?
  6         A      Maybe.     I really don't recall.
  7         Q      Do you know if you've ever had any blood
  8   work done, blood drawn and lab work?
  9         A      I have because I've donated blood, so they
 10   checked there.
 11         Q      Where did you donate the blood, in Serbia
 12   or Canada?
 13         A      Here.     Here.
 14         Q      In Serbia?
 15         A      Yes.     They do -- they check for, you know,
 16   if it's good or not.           So -- before you can be a
 17   donor.
 18         Q      And they told you your blood was good
 19   enough to be a donor?
 20         A      Yes.
 21         Q      They didn't express any concerns to you
 22   about your blood?
 23         A      No.
 24         Q      Now, when you've had these general checkups
 25   done in the past, did they check your blood sugar


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 21 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 21
  1   where they prick the end of your finger?
  2         A      Yes.     They do that even -- yeah, they
  3   check.     I'm not diabetic or anything like that.
  4         Q      You're not that what?
  5         A      Not diabetic.
  6         Q      Okay.     All right.    What is your blood sugar
  7   usually, do you know?
  8         A      No.
  9         Q      No doctor or healthcare provider has ever
 10   told you your sugar level is too high?
 11         A      No.
 12         Q      And you're sure that you're not a diabetic?
 13         A      As far as I know, I'm not.
 14         Q      And as far as --
 15         A      I've never had any problems with that, so,
 16   no.
 17         Q      And as far as you know, no healthcare
 18   provider has ever told you there's a problem with
 19   your blood, correct?
 20         A      No.    No.
 21         Q      Have -- has a doctor ever taken X-rays
 22   of -- of your -- of your chest area, for example?
 23         A      Maybe.       I've had X-rays done before.         I
 24   don't -- I don't remem- -- I had X-rays done.              In my
 25   life I had -- had X-rays done, yes.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 22 of 127
Ognjen Milanovic                                           March 15, 2023

                                                                    Page 22
  1           Q      Well, you had --
  2           A      I don't know --
  3           Q      You had a --
  4           A      Go ahead.
  5           Q      You had a skiing accident, you said.            You
  6   may have had some X-rays done in connection with
  7   that?
  8           A      Yeah.    Yeah.     Soccer I played when I was
  9   younger, so I've had ankle ones, leg ones, yeah.
 10           Q      Do you play any sports --
 11           A      I think I --
 12           Q      Go ahead.
 13           A      Yeah, I do.       I do.     Soccer, yeah.   Tennis,
 14   swim.       I swim.    So, yeah.
 15           Q      All right.       Let's talk about each of those.
 16   Are you -- do you currently play tennis?
 17           A      Yes.
 18           Q      How often do you play tennis?
 19           A      Whenever I can.       Not in the wintertime, in
 20   the summertime.
 21           Q      No indoor facilities where you can play
 22   tennis?
 23           A      I don't play indoors, just out.
 24           Q      Okay.    All right.        And then you also
 25   mentioned you play soccer.               Are you currently playing


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 23 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 23
  1   soccer?
  2         A      Again, it's winter, so only the summertime.
  3         Q      No indoor facilities where you play soccer?
  4         A      No, I do not play indoor.
  5         Q      You said tennis, soccer and swimming.
  6         A      Swimming.    The only thing in the winter is
  7   swimming.
  8         Q      Where do you swim?
  9         A      They have indoor places here, so -- yeah.
 10         Q      How often do you swim?
 11         A      I try once a week, twice, whenever I get
 12   the chance.
 13         Q      Do you swim competitively?
 14         A      No.
 15         Q      Just to stay in shape?
 16         A      Yeah.
 17         Q      Now, getting back to the questions I was
 18   asking about your health, I asked --
 19         A      Uh-huh.
 20         Q      -- about X-rays of your body.         No one has
 21   ever told you that there are any deformities in your
 22   skeletal system?
 23         A      No.
 24         Q      Do you know what an MRI is?
 25         A      I do.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 24 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 24
  1          Q      Okay.   Tell me what you -- what you know of
  2   an MRI.      What is it?
  3          A      Magnetic Resonance.      Is that what it stands
  4   for?
  5          Q      That's very good.
  6                 Do you know what it does?
  7          A      It takes a scan.
  8          Q      Okay.   You learned that from your
  9   ex-girlfriend?
 10          A      Yes.
 11          Q      Can you tell me if -- to the best of your
 12   recollection, if you have ever had any MRIs done on
 13   any part of your body?
 14          A      I think that time after the incident
 15   happened I -- I was loopy, but I think that they gave
 16   me that.      I think.     I don't know what it was.
 17   Maybe -- I can't recall whether it was CAT or MRI,
 18   but I think they did something there.            But, again,
 19   I -- I really don't recall as I was semi-conscious at
 20   the time.
 21          Q      And when you say -- you're referring to the
 22   accident that occurred on August 8 --
 23          A      Yes.
 24          Q      -- of 2020?
 25          A      Yes.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 25 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 25
  1           Q      Okay.     And then you also mentioned a CAT.
  2   And that was my next question, actually.             I was going
  3   to ask you if you knew what a CAT scan was.
  4           A      Yeah.     Less detailed scan, let's say.         The
  5   MRI is the deep one where they do -- to the best of
  6   my recollection, to my understanding, the deep one
  7   where they do, like, a 3D image or whatever.              I'm not
  8   an expert on these things, just -- yeah.
  9           Q      Yeah, I know you're not an expert.         I'm
 10   merely asking you questions to find out what you do
 11   know so I can learn.
 12                  So you think you had either an MRI or a CAT
 13   scan done at the hospital following your accident
 14   here?
 15           A      Yeah, yeah, some type of scan.        I don't
 16   know what it was.
 17           Q      Since this accident, up to the present
 18   time --
 19           A      Uh-huh.
 20           Q      -- have you had any other CAT scans done?
 21           A      No.
 22           Q      Or MRIs?
 23           A      No.
 24           Q      Have you seen any cardiologists since this
 25   accident?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 26 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 26
  1         A      No.
  2         Q      Have you seen any endocrinologist or
  3   doctors who specialize in the area of diabetes since
  4   this accident?
  5         A      No.
  6         Q      Have you seen any neurologists since this
  7   accident?
  8         A      I don't think so.
  9         Q      You seem to be a man of pretty good health,
 10   would you agree?
 11         A      Yes.
 12         Q      I asked you about surgeries and
 13   hospitalizations, and you can't think of any other
 14   occasions, whether it be as a result of a health
 15   issue or an injury, that you would have been
 16   hospitalized, am I correct?
 17         A      No, nothing serious.       Not -- no.
 18         Q      You have health insurance, don't you?
 19         A      We don't have it here.        It's standardized.
 20         Q      Okay.   What do you mean by "standardized"?
 21         A      It's not like in the states.         Here, as in
 22   Canada, you walk in and you walk out.            There's no
 23   insurance.     You don't pay anything.        You --
 24   everybody's covered as long as you're a citizen.
 25         Q      So, then, money is not a reason not to see


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 27 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 27
  1   a doctor, would you agree?
  2           A      No, it does not cost anything here, nor
  3   does it cost anything in Canada.           When -- we don't --
  4   it's not an issue.          It's -- it's -- it's our right
  5   for everybody.        So, yes, it doesn't cost one dollar
  6   to go to the doctor here.
  7           Q      Sounds like a good system, doesn't it?
  8           A      To some extent, yes.
  9           Q      Now, we talked about your CDL.        You got
 10   your CDL, you've explained, approximately five to
 11   seven years ago.
 12                  What was your first trucking job after
 13   that?
 14           A      Regular one.     Just driving, I guess.
 15           Q      Well, was it for a Canadian company?
 16           A      Yes.
 17           Q      Have you worked for any truck companies in
 18   Serbia?
 19           A      No.
 20           Q      So your trucking experience would be
 21   limited to Canada and Canadian companies?
 22           A      Well, here, too, but it would be
 23   construction companies mostly.
 24           Q      All right.     But your first trucking job was
 25   in Canada?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 28 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 28
  1          A       Correct.
  2          Q       You don't recall the name of the company?
  3          A       No.
  4          Q       What kind of trucks?
  5          A       Big ones.
  6          Q       Did you have a particular region or
  7   territory where you drove?
  8          A       No.
  9          Q       How long did you work at that --
 10          A      You go everywhere.
 11          Q      When you say "everywhere," everywhere in
 12   Canada?
 13          A      Yes.
 14          Q      And I'm talking about your first job right
 15   now.       Did you also drive in the United States?
 16          A      Yes.
 17          Q      So the CDL that you have at the present
 18   time, does it allow you to drive in Canada and the
 19   United States?
 20          A      Yes.
 21          Q      And based on the testimony you gave
 22   earlier, are you allowed to use that CDL in Serbia?
 23          A      No.    I -- well, I don't think so.         I
 24   wouldn't know.       They -- in Europe they have a
 25   different one so you have to switch it over.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 29 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 29
  1         Q      But it hasn't been an issue anyway because
  2   you don't drive in Serbia, right?
  3         A      I do.
  4         Q      You drive cars?
  5         A      Yes.
  6         Q      Have you driven any trucks?
  7         A      No.
  8         Q      All right.     That's what I was trying to
  9   understand.
 10         A      Up to a certain weight.         The big ones, no.
 11         Q      Now, have you had to do anything to keep
 12   your CDL current?
 13         A      Here, I do, actually.        The equivalent of
 14   ministry of transportation.
 15         Q      All right.
 16         A      I have to go there and -- yeah.
 17         Q      Well, why do you need -- you said "here,"
 18   and I assume you're talking about Serbia?
 19         A      Yes.
 20         Q      All right.     Let's -- let's talk about
 21   Canada for a moment.        Have you been required to do
 22   anything in Canada to maintain your CDL?
 23         A      Medical tests and periodically -- yeah,
 24   medical tests.
 25         Q      And tell me what those medical tests


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 30 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 30
  1   entail.
  2         A      They test coordination, blood work, drug
  3   testing.     Same as in the states.
  4         Q      Has anyone indicated to you that -- or
  5   expressed any concerns to you about your blood work
  6   or the medical tests you performed?
  7         A      No.
  8         Q      As far as you're concerned --
  9         A      I mean, they wouldn't pass me.
 10         Q      Right.
 11         A      Well, if you -- if there's a problem with
 12   it, you don't pass.
 13         Q      You have --
 14         A      And periodically I don't -- I don't
 15   remember how often it is, but periodically, yeah, it
 16   is a medical where they test everything.             Hand-to-eye
 17   coordination, vision, blood, all that.
 18         Q      You've passed each time?
 19         A      Yes.
 20         Q      No one ever expressed any concerns to you
 21   about your medical tests?
 22         A      No.
 23         Q      And, in fact, your CDL is current and valid
 24   in Canada, correct?
 25         A      Yes.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 31 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 31
  1           Q      Now, explain to me how it works.        You've
  2   got a Canadian CDL.         How is it that you're allowed to
  3   drive in the United States?
  4           A      The same as United States CDL are allowed
  5   to do the same thing in Canada.          It's a treaty
  6   between the two countries.
  7           Q      All right.     And sometimes people refer to
  8   it as "reciprocity."          Have you ever heard of that
  9   word?
 10           A      I have.
 11           Q      All right.     So you're allowed to use your
 12   Canadian CDL in United States.          And, likewise, a
 13   truck driver who has a CDL issued in the
 14   United States is allowed to drive in Canada.
 15                  Is that your understanding?
 16           A      Yes.
 17           Q      Okay.     Now, do you have to do --
 18           A      The only thing --
 19           Q      Go ahead.
 20           A      The only thing you're not allowed -- you
 21   can't -- as a Canadian, you can work for a Canadian
 22   company.       You are not allowed to work for an American
 23   company and vice versa.          So you, as an American,
 24   would not be allowed to go up to Canada and live and
 25   work there, you would have to have special permits or


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 32 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 32
  1   whatnot.
  2                 So long as it is a Canadian company dealing
  3   with import and export to Canada, Canadian CDL is
  4   fine and vice versa.
  5                 For example, I can't go to Texas and deal
  6   with a client from Texas and then go deal with a
  7   client from Arizona.       They call that "interstating."
  8                 If I go to Texas, I have to come back to
  9   Canada.
 10                 Vice versa, for an American driver, if he
 11   goes -- work or whatever, goes to Canada to Ontario,
 12   he has to come back to the states.           So that is how it
 13   works.
 14          Q      Thank you.   That was helpful.
 15          A      Uh-huh.
 16          Q      And where did you learn to maintain logs?
 17          A      In the school.
 18          Q      The school when you first obtained your
 19   CDL?
 20          A      Yes.
 21          Q      Tell me how you keep your logs.         In other
 22   words, is it -- in the old days it was an actual
 23   notepad where you wrote down what you did that day
 24   and when you did it, et cetera.
 25                 How is it done today and how do you do it?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 33 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 33
  1         A      Electronically.
  2         Q      And where is that maintained?         Inside the
  3   truck?
  4         A      Yes.
  5         Q      Are you required to maintain your logs?
  6         A      Yes.
  7         Q      Does your employer supervise you to
  8   maintain your -- keeping your logs current?
  9         A      Yes, I believe so.
 10         Q      So when you maintain your logs
 11   electronically, can your employer read it at the same
 12   time, miles away?
 13         A      I think that they can, yes.         I think so.
 14   I'm pretty sure they can, yeah.
 15         Q      In other words --
 16         A      They know where you are -- they know where
 17   you are all the time.
 18         Q      Right.   But if you're in Oklahoma, your
 19   employer in Toronto can access your logs to see what
 20   you did during that day, can't he?
 21         A      I believe.    I'm not sure.      But I -- I -- I
 22   think that they can because they exactly know where
 23   you are.     They know, more or less, everything.
 24   That's standard practice.         I believe they can, yes.
 25         Q      All right.    And once you make an entry in


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 34 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                 Page 34
  1   your logbook or enter a log indicating where you were
  2   and what you did, et cetera, can you change it?
  3         A      Some things you can, some things you
  4   cannot.
  5         Q      What can you change?
  6         A      If you have something wrong, like off duty
  7   time and on duty time, small things, but as far as
  8   moving and working, that cannot be changed.
  9         Q      Okay.
 10         A      So if you are working, that -- that is set
 11   in stone.     I -- there is no changing that.          So you
 12   cannot even -- you have a certain amount of hours in
 13   a day and that cannot be changed, no.            I don't
 14   think -- I don't -- I've never heard of anybody that
 15   can change that.
 16         Q      How many hours in a day are you allowed to
 17   drive?
 18         A      In Canada, 13.     In the states, 11.
 19         Q      So if you are driving in the states, do you
 20   try to limit your driving time to 11 hours a day?
 21         A      Well, you don't try, you have to, yes.
 22         Q      Tell me why you have to.
 23         A      Because you're constantly checked, so you
 24   have to.
 25         Q      Checked --


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 35 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 35
  1         A      And it's never 11, it's --
  2         Q      Go ahead.
  3         A      The various government bodies, the scales,
  4   the troopers, I don't know, anybody can check you, so
  5   it's never 11, it's less.         You always stop less.            You
  6   have to have a time frame where you can park,
  7   whatever.
  8         Q      Are there any requirements, either imposed
  9   by your employer or by the law, to the best of your
 10   knowledge, that limits the amount of sleep time you
 11   can have?
 12         A      Limits it?
 13         Q      Well, I shouldn't have said "limit."              I
 14   should have said "addresses" the amount of sleep time
 15   you're allowed.
 16         A      Well, you're allowed as many as you want,
 17   but there -- there's a minimum.
 18         Q      What is the minimum?
 19         A      It's eight.
 20         Q      Eight hours?
 21         A      Uh-huh.
 22         Q      Yes?
 23         A      Uh-huh.
 24         Q      Well, you're saying "uh-huh."
 25         A      It's -- I think -- I think it's eight,


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 36 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 36
  1   but -- I think it's eight, technically, but I think
  2   it -- all in, it would be a ten-hour break.             I'm not
  3   sure.
  4                  We have on our -- now.      What would it be in
  5   Canada?       Ten hours a total stop.      So I don't know
  6   exactly what the sleep time would be, but a ten-hour
  7   is the total break.
  8           Q      Do you know what the allowed sleep time --
  9   or the minimum amount of sleep time is in the
 10   United States?
 11                  MR. PIGNATO:     We've lost you.
 12                  He's frozen.
 13                  Can anyone else hear me?
 14                  MR. FRANZ:     I can hear you.
 15                  (Recess taken from 2:19 p.m. to 2:24 p.m.)
 16           Q      (By Mr. Pignato) Mr. Milanovic, we're back
 17   from the break.        Are you ready to proceed?
 18           A      I am.
 19           Q      All right.     I noticed at the very beginning
 20   of the deposition you took a drink of something.
 21   What was that?
 22           A      Say it again, please.
 23           Q      Are you drinking anything at the present
 24   time?
 25           A      I am.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 37 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 37
  1           Q      What are you drinking?
  2           A      Juice.
  3           Q      Okay.    In a wine glass?
  4           A      It's a regular glass.       Is that --
  5           Q      All right.
  6           A      I don't understand how that's relevant.
  7           Q      I was just curious what you were drinking,
  8   sir.
  9                  We were talking about logs and that sort of
 10   thing.
 11           A      I didn't mean to disrespect anybody.            It's
 12   late here, so --
 13           Q      You didn't disrespect anybody.
 14           A      All right.   Sorry.
 15           Q      Now, tell me what kind of rules are imposed
 16   by your employer with respect to consumption of
 17   alcohol while you're driving?
 18           A      Well, you cannot do it.       Simple as -- like
 19   that.
 20           Q      Now, were you taught and trained that?
 21           A      Yes.
 22           Q      And since you have had your CDL, have you
 23   ever consumed alcohol while driving a truck?
 24           A      No.
 25           Q      Have you ever been intoxicated while


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 38 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 38
  1   driving a truck?
  2           A      No.
  3           Q      Do you drink alcohol?
  4           A      Yes.    Occasionally, yes.
  5           Q      How often?
  6           A      I don't know.     On a weekend.
  7           Q      What's your favorite drink?
  8           A      Anything, maybe a beer.
  9           Q      Do you take any medications, sir?
 10           A      No.
 11           Q      Now, going back to August of 2020, were you
 12   taking any medication at -- during that period of
 13   time?
 14           A      No.    They -- I did get tested after it
 15   happened.
 16           Q      Tested for what?
 17           A      For everything.    Any substance.      They do,
 18   like, a blood test.
 19           Q      All right.    And what were the results of
 20   your blood test?
 21           A      Negative.
 22                 (Whereupon, Exhibit Number 1 was marked for
 23   identification purposes and made a part of the
 24   record.)
 25           Q      (By Mr. Pignato) I want to mark and show


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 39 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 39
  1   you some -- mark as an exhibit and show you some
  2   records, Mr. Milanovic.
  3                We're going to mark it as Exhibit Number 1,
  4   a copy of your logs that have been produced to us in
  5   this case.     And they've been Bates stamped by your
  6   attorney Highlight 340 through 350.
  7                And I want to ask you a couple of questions
  8   about these when we get them up on the screen.                 Okay?
  9         A      Uh-huh.
 10         Q      Let's start with -- I'm going to tell you
 11   which page I'd like to begin with.           Let's start with
 12   Bates 347.
 13                (Document is displayed).
 14                Now, Mr. Milanovic, I understand you're
 15   using your cell phone for this deposition.
 16         A      Uh-huh.
 17         Q      Am I correct?
 18         A      Yes.
 19         Q      Can you see what I just put up on the
 20   screen?     Because I can enlarge certain parts of it if
 21   you'd like.
 22         A      No, it's fine.     I can see.
 23         Q      Can you identify it for me?
 24         A      It's a log.
 25         Q      Is it your log?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 40 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 40
  1         A      I believe so.
  2         Q      Is it your log -- well, can you tell me the
  3   date of this log?
  4         A      2020/8/7.
  5         Q      In other words, it would be August 7, 2020?
  6         A      Sure.     Yes.
  7         Q      That would be the day before this accident?
  8         A      I guess.     It's been a while.      I don't
  9   remember exactly when.
 10         Q      Help us understand what we see on this
 11   document.     Okay?     Because I, like most of the members
 12   of the jury who are going to be looking at this,
 13   don't understand it that well.          We don't do logs, so
 14   I want you to educate me.         Okay?
 15         A      Uh-huh.
 16         Q      Will you do that?       Take me through it.
 17   Tell me what these bar lines mean -- mean at the top.
 18   There's one in green -- actually, there's a couple in
 19   green and a couple in gray.          Tell me what all this
 20   means.
 21         A      I'm not sure.
 22         Q      We're enlarging it so you can see it
 23   better.
 24         A      I can see it.
 25         Q      All right.       Can you see it better?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 41 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 41
  1         A      Yes.
  2         Q      Is this your log?
  3         A      I think so.
  4         Q      All right.     Well, help us interpret it, if
  5   you would.
  6         A      Uh-huh.
  7         Q      Go ahead and explain what we're seeing
  8   here.
  9         A      On duty, off duty, sleeper --
 10           Q    All right.     Let's -- it says "Off Duty:
 11   0h36m58."     What do those numbers and letters mean?
 12           A    Which one?
 13           Q    Well, I'm starting in the upper right
 14   corner where it says "Off Duty."
 15           A    Uh-huh.
 16           Q    What does that mean?
 17           A    I think it's pretty self-explanatory.             Off
 18   duty.
 19           Q    Sleeping?
 20           A    Yes.
 21           Q    All right.     But what do the letters and
 22   numbers mean?
 23           A    Which letters and which numbers?
 24           Q    "0-h," what's that mean?
 25           A    "H"?   It's hours.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 42 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 42
  1           Q      All right.   Is that a zero?      Yeah, it's a
  2   zero.       "0-h," so that means zero hours?
  3           A      I -- I believe.
  4           Q      And then it says "36."      What's the 36 mean?
  5           A      I'm not sure.
  6           Q      And then it says -- there's a small "m."
  7   What does that mean, minutes?
  8           A      Yes, I believe.
  9           Q      And then there's a number "58."        What does
 10   that mean?
 11           A      I -- I can only assume seconds, because
 12   it's hours, minutes and then seconds.
 13           Q      Well, who created this document?
 14           A      The people that created this software
 15   program.
 16           Q      Well, who supplied the information that's
 17   in this document?
 18           A      I'm not sure what you mean.
 19           Q      The numbers "36" and "58," did you provide
 20   those numbers?
 21                  MR. FRANZ:   Counsel, I'll object to the
 22   extent that that was produced by the company, not
 23   Mr. Milanovic.       So -- and you haven't established
 24   that this witness has any real knowledge of the
 25   document itself.       I mean, I don't mind you asking him


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 43 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 43
  1   questions about his hours, but he had -- he didn't --
  2   he didn't testify he prepared the document.
  3         Q      (By Mr. Pignato) Have you seen this
  4   document before, sir?
  5                MR. FRANZ:     You can answer Milan- --
  6   Mr. Milanovic.
  7                THE WITNESS:     I -- at some point maybe.
  8   I -- I don't recall seeing it.
  9         Q      (By Mr. Pignato) Well, do you have to
 10   identify the time slot in which you sleep or rest?
 11         A      Yes.
 12         Q      You do that on your log --
 13         A      Every --
 14         Q      Go ahead.
 15         A      Yes.   Yeah, I do, every single day, but you
 16   cannot expect me to remember something that happened
 17   as far back as that.        So --
 18         Q      I'm not --
 19         A      -- I'm sure --
 20         Q      I'm not asking you to remember how -- when
 21   you slept on August 7, 2020, I'm asking you to help
 22   me understand what this document says.            Okay?
 23         A      Off duty hours, sleeping, drive -- it's
 24   self-explanatory.        I enter it and then the system
 25   gives me this thing.        I -- I -- I -- I cannot adjust


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 44 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 44
  1   or do anything for that.        It's very self-explanatory.
  2   Off duty 36 hours -- sorry, 36 minutes, 58 seconds.
  3   Minimum is 30 minutes.         And then the rest, again, is
  4   self-explanatory.
  5                I do not put -- I enter it into the log and
  6   then it shows up like this.         I do not physically make
  7   this document.      It's made on its own.
  8         Q      I think I better understand your answer now
  9   and I thank you for that.
 10         A      Uh-huh.
 11         Q      You provide the information electronically
 12   and you have no control over the format in which it
 13   is produced.
 14                Am I hearing you correctly?
 15         A      Uh-huh.    Yes.
 16         Q      And, for example, next it says "Sleeper
 17   Berth."     And we have again "13h05m22."         You provided
 18   the information and it came out in this format,
 19   correct?
 20         A      Yes.
 21         Q      Now, again I'm going to direct your
 22   attention to the horizontal bars that we see.              For
 23   example, we see --
 24         A      Uh-huh.
 25         Q      -- "7 hours 48."


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 45 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 45
  1                Do you see that, the first one?
  2         A      Uh-huh.     Uh-huh.
  3         Q      Tell me what --
  4         A      Uh-huh.
  5         Q      Do you know what that means?
  6         A      I -- I suppose it would be the stop of the
  7   driving.
  8         Q      Well, that's my question.        We appear to
  9   start perhaps at midnight on the 7th, and we have
 10   seven hours and 48 minutes that takes us to 7:00 --
 11   almost 8:00 in the morning.          Am I correct in
 12   understanding that?
 13         A      I guess.
 14         Q      You're guessing now.       I need you to do more
 15   than guess.     Tell me what that means, if you know.
 16         A      That it says "Start Time, Duration," and
 17   then "Activity."
 18         Q      Yeah.     Can you tell me if that means you
 19   drove seven hours and 48 minutes?
 20                MR. FRANZ:     Objection as to the form of the
 21   question.     Why don't you just ask him if he drove
 22   that time, if he recalls.          The document speaks for
 23   itself.
 24                MR. PIGNATO:     All right.     Now, in the
 25   western district, sir, you object to the form.                 Okay?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 46 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 46
  1                  MR. FRANZ:     I did object to the form.
  2                  MR. PIGNATO:     No, that was hardly a form
  3   objection and I won't tolerate it again.
  4                  MR. FRANZ:     You won't tolerate it?      Okay.
  5                  MR. PIGNATO:     I won't.   I'll shut this down
  6   and move for sanctions.          That's what I'll do.
  7                  MR. FRANZ:     Wow.
  8           Q      (By Mr. Pignato) Mr. Milanovic, can you
  9   tell me from looking at that bar where it says
 10   "7h48," if you drove seven hours and 48 minutes?
 11           A      I cannot.    I -- I don't recall.
 12           Q      You can't tell from this document, sir, if
 13   that means that you drove seven hours and 48 minutes,
 14   can you?
 15           A      What it says is the start time is 7:48.
 16           Q      All right.     That's what I'm trying to find
 17   out is what this means to you, if anything.
 18           A      I suppose it means it -- the start time was
 19   7:48.
 20           Q      Tell me, then, what happens next where we
 21   go into a lower bar where it says "four hours 22."
 22   Do you know what that means?
 23           A      Which lower bar?
 24           Q      Well, right past the bar that we were
 25   talking about where it says "7h48."


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 47 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                  Page 47
  1                The next bar in gray says "4h22."          Do you
  2   know what that means?
  3         A      No.
  4         Q      And you don't recall how many hours you
  5   drove on August 7, 2020, do you?
  6         A      I think it's ludicrous for me to tell you
  7   how many I did on that day.           How could I possibly
  8   remember?
  9         Q      I'm not suggesting you should remember, I'm
 10   just confirming that you don't remember.             True
 11   statement?
 12         A      No, I don't.
 13         Q      All right.     Then we've got another gray bar
 14   and it says "4h52."       Do you know what that means?
 15         A      No, I don't.
 16         Q      Then we have a --
 17         A      Off -- I -- I assume some type of off duty.
 18         Q      Why do you assume that?
 19         A      Because it's in gray.
 20         Q      Gray means off duty?
 21         A      Or on duty.     Or on.     But it -- it isn't
 22   working or driving, so I would not know.
 23         Q      All right.
 24         A      On duty maybe.     I don't know.      I really
 25   don't know.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 48 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                 Page 48
  1           Q      That's fine.     You can only tell me what you
  2   know, and if you don't know just tell me you don't
  3   know.       Okay?
  4           A      I don't know.     I don't know.    Sorry.
  5           Q      And then the last bar --
  6           A      Maybe on duty.
  7           Q      Okay.     The last bar is another green bar
  8   and it says "5h17."         You don't know --
  9           A      Uh-huh.
 10           Q      -- what that means, either?
 11           A      No.
 12           Q      Very well.
 13           A      I do not.
 14           Q      Now if we look down at the bottom of the
 15   page, have you seen this format before?
 16                  Can you go up a little higher to give the
 17   titles?       I want to start here.
 18                  For example, there's columns that say
 19   "Start Time, Duration, Activity, Location."
 20                  Do you see those?
 21           A      Yep.
 22           Q      Have you seen this type of a document
 23   before?
 24           A      This type, yes, sure.
 25           Q      You have?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 49 of 127
Ognjen Milanovic                                          March 15, 2023

                                                                  Page 49
  1         A      Uh-huh.
  2         Q      Okay.     So we -- we begin with a start time
  3   of zero.     And then under "Duration" we say "7h48m20
  4   sleeper."
  5                Does that mean you were sleeping during
  6   that period of time, or at least resting?
  7         A      Yes.
  8         Q      Okay.     That helps.
  9                Then it says "Location:           Four miles
 10   southwest of Brights Grove."
 11                Where is Brights Grove?
 12         A      I have absolutely no idea.
 13         Q      All right.        Well, I ask that because it
 14   says "O-N," and I didn't know if that was in Ontario.
 15         A      Yes, I assume Ontario.
 16         Q      Okay.     So --
 17         A      Yeah, right there.        Okay.     Point
 18   (inaudible).        Yeah, yeah, yeah, for sure.          Yeah, it's
 19   all Ontario and Canada border.
 20         Q      All right.        And if we follow this, does
 21   this tell us, then, when you're driving and when
 22   you're off duty and -- and sleeping and where your
 23   location is at that point in time?
 24         A      I suppose, yes.
 25         Q      And then if we -- I'm going to go to the


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 50 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 50
  1   next page now and I'll show you -- I'll wait until
  2   you get there -- which is Bates 348?
  3         A      Uh-huh.
  4         Q      And you'll notice the date, sir, up in the
  5   upper left-hand side.        This is August 8, 2020.
  6                Do you see that?
  7         A      Uh-huh.
  8         Q      And that -- is that a "yes"?
  9         A      Yes, I see it.
 10         Q      Yeah.     And I'm not trying to be rude when I
 11   do that, we just want to make sure the court reporter
 12   gets it down correctly.        Okay?
 13         A      Yeah.
 14         Q      So I will represent to you, sir, that
 15   August 8, 2020, was the date of this accident.
 16                Will you accept that?
 17         A      Sure.
 18         Q      All right.    So I want to talk to you about
 19   your schedule on August 8, 2020.
 20                Do you have the ability to interpret this
 21   document and tell me what you were doing throughout
 22   that day up until the time of the accident?
 23         A      I can interpret it to the best of my
 24   ability, yes.
 25         Q      All right.    Would you do so, please, and


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 51 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 51
  1   tell me if you're using the horizontal bars that we
  2   looked at on the previous day or whether you're
  3   looking at the columns at the bottom of the page.
  4           A      I can do both.    So it's 5:01 sleeper.
  5   Six miles in -- somewhere in Illinois.
  6                  Then a 35-minute break or on duty.         It says
  7   "on duty," but there's no driving, so --
  8           Q      Can I ask you a quick question?        Let me ask
  9   you --
 10           A      Go ahead.
 11           Q      -- what's -- what's the difference between
 12   on duty and driving?
 13           A      If the vehicle isn't moving.       The only
 14   thing that is controlled by the -- the log would be
 15   the driving time.          That -- that we have no control
 16   over.
 17           Q      Well, then --
 18           A      So when you stop --
 19           Q      Go ahead.
 20           A      Go ahead.
 21           Q      I was going to ask you --
 22           A      No, no, when you stop --
 23           Q      What does --
 24           A      Yes.
 25           Q      -- "on duty" mean to you?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 52 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 52
  1         A      It is action or a border crossing or
  2   something like that.
  3         Q      Getting gas, stopping at a store?
  4         A      Getting gas, yes.      We don't really stop at
  5   stores because they won't fit.          So inspection scale,
  6   something like that.
  7         Q      All right.    Very good.      I want you to take
  8   me through where you were at what times that day, if
  9   you would.
 10         A      Okay.    I can look at here.       Joplin, Joplin.
 11   I -- again, I have no recollection of this.
 12         Q      You're just telling me what the document
 13   says right now?
 14         A      Correct.     I don't -- I simply don't
 15   remember.
 16         Q      Is there a particular reason you don't
 17   remember what you did on that day at what time?
 18         A      Yes.    As it's very repetitive and we go to
 19   so many places that you simply cannot keep track.
 20   It's like clockwork.       I -- I -- I simply cannot
 21   remember because it's always different places every
 22   single day.     Therefore, it isn't as if I were on
 23   vacation, for example where I could tell you I went
 24   to Hawaii and I remember it.          It's just work and I
 25   simply don't remember one day from the next.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 53 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 53
  1                I guess a few days back I could, but
  2   something as far along as a few months before, no, I
  3   could not remember at all.
  4         Q      Isn't that why you're required to maintain
  5   logs, so that you can refer back to the logs to
  6   refresh your memory?
  7         A      I suppose so, yes.
  8         Q      And that's why I'm asking you to take me
  9   through this, so I will better understand what you
 10   were doing on that day, when you were doing it, and
 11   where you were prior to the accident.
 12         A      I can tell you as much as you can see.            It
 13   says, "Joplin, Joplin, Joplin, Joplin."            Then
 14   whatever -- however you pronounce this, "Chole-paw."
 15         Q      Choctaw.
 16         A      Whatever.    And then "You" --
 17         Q      Yukon.
 18         A      Yukon.     Yu- -- yeah.    I can just read it to
 19   you as -- as you can read it.          Other than that, I
 20   have -- I don't remember it at all.
 21         Q      And you can't help me better understand
 22   what "off duty" means versus "driving" on that day?
 23   I'm sorry, I said "off duty."          I meant on duty.        I
 24   meant to say "on duty," so I'm going to ask the
 25   question again.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 54 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 54
  1                  Can you help me better understand the
  2   difference between "on duty" versus "driving" on
  3   August 8th, 2020?
  4           A      If it's -- if -- if the vehicle is moving,
  5   then it would be driving.
  6                  If it is not, it can be on duty or off
  7   duty.
  8           Q      Do you recall driving down the Turner
  9   Turnpike?
 10           A      I do not.
 11           Q      I want to show you some photographs and ask
 12   you some questions that relate to the accident,
 13   Mr. Milanovic.
 14           A      Go ahead.
 15           Q      What do you recall of this accident?            It's
 16   a broad question and I'm intentionally asking it
 17   broad and then I'll narrow it down.
 18           A      Nothing.
 19           Q      Do you recall being taken to the hospital?
 20           A      No.
 21           Q      Do you recall anything that was said to you
 22   by any of the medical personnel in the ambulance?
 23           A      No.
 24           Q      Do you recall anything that was said to you
 25   by the medical personnel in the hospital?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 55 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 55
  1         A      Yes.    After, yes.
  2         Q      After what?
  3         A      Hours after, I recall.
  4         Q      After you were discharged from the hospital
  5   or while you were in the hospital?
  6         A      While I was still there.
  7         Q      Now, do you know how long you were in the
  8   hospital?
  9         A      No.
 10         Q      Do you know if you were in the hospital,
 11   say, more than four hours?
 12         A      I do not recall.
 13         Q      Did you spend a night in the hospital?
 14         A      No.
 15         Q      When you were discharged from the hospital,
 16   where did you go?
 17         A      A hotel.
 18         Q      In Oklahoma City?
 19         A      In that area.     I don't remember where.
 20         Q      How did you get to the hotel?
 21         A      Taxi, I think.
 22         Q      Did you make the arrangements and
 23   reservations for the hotel?
 24         A      I do not recall.      I was pretty shaken up at
 25   that point.        I don't recall who did.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 56 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 56
  1          Q      How long did you stay at the hotel?
  2          A      Until the next morning.
  3          Q      Have you seen any doctor, physician or
  4   healthcare provider since the accident in connection
  5   with -- well, strike that, let me rephrase the
  6   question.
  7                (Whereupon, Exhibit Number 2 was marked for
  8   identification purposes and made a part of the
  9   record.)
 10          Q      (By Mr. Pignato) I don't want to get ahead
 11   of myself.      I want to show you a couple of pictures,
 12   sir.
 13                 I'm going to show you some photographs that
 14   were taken by the investigating police officers at
 15   the scene of the accident.         And if you don't know
 16   anything about these photographs, you don't recognize
 17   them, just tell me so and I'll move on to the next
 18   picture.      Okay?
 19                 (Document is displayed).
 20          A      No recollection.
 21          Q      All right.   So let me ask the question.
 22                 Do you recall this area of the fencing that
 23   your vehicle drove through as it left the highway?
 24          A      No.
 25          Q      Are you aware that your semi took out this


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 57 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 57
  1   fence as it left the highway?
  2         A      No.
  3                (Whereupon, Exhibit Number 3 was marked for
  4   identification purposes and made a part of the
  5   record.)
  6         Q      (By Mr. Pignato) Next photograph.
  7                (Document is displayed).
  8                In this photograph, sir, I'll represent to
  9   you that the home in the middle of the picture that
 10   shows the damage to a portion of the house was owned
 11   by a lady by the name of Earlene Carr.
 12                Do you recognize that home?
 13         A      No.
 14         Q      Do you recognize the damage?
 15         A      No.
 16         Q      Have you ever seen a photograph like this
 17   of this home and this damage?
 18         A      No.
 19         Q      Do you recall driving just to the left of
 20   this home?
 21         A      No.
 22         Q      You'll notice in this picture -- we'll see
 23   a better picture coming up, but in this picture
 24   you'll see that there is a home on the left that is
 25   also -- has also been struck by your truck.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 58 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 58
  1                Do you see this home?
  2         A      I don't recall any of that.
  3               (Whereupon, Exhibit Number 4 was marked for
  4   identification purposes and made a part of the
  5   record.)
  6         Q      (By Mr. Pignato) All right.         That's fair.
  7                We'll go to the next picture.
  8                (Document is displayed).
  9                This is a photograph, sir, of the debris
 10   field left after you struck Ms. Carr's home.
 11                Do you recognize any of this?
 12         A      No.
 13         Q      Were you aware or have you ever been aware
 14   that your vehicle caused this much damage to a home?
 15         A      No.
 16               (Whereupon, Exhibit Number 5 was marked for
 17   identification purposes and made a part of the
 18   record.)
 19         Q      (By Mr. Pignato) Next photograph.
 20                (Document is displayed).
 21                I anticipate your answer to this question,
 22   as well, but let me ask the question.            Do you -- have
 23   you ever seen this photograph before?
 24         A      No.
 25         Q      And do you recall causing this much damage


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 59 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 59
  1   to the two homes?
  2         A      No.
  3               (Whereupon, Exhibit Number 6 was marked for
  4   identification purposes and made a part of the
  5   record.)
  6         Q      (By Mr. Pignato) Next photograph.
  7                (Document is displayed).
  8                Another photograph we're taking at a
  9   different angle.      Now we're looking back at the
 10   highway from which you came.          And this is the -- part
 11   of the damage to the other house.
 12                Do you recall being aware that you had
 13   caused this much damage to this neighbor's house?
 14         A      No.
 15         Q      Do you know if anyone at either of these
 16   homes was home at the time of the accident?
 17         A      No.
 18               (Whereupon, Exhibit Number 7 was marked for
 19   identification purposes and made a part of the
 20   record.)
 21         Q      (By Mr. Pignato) Next photograph.
 22                (Document is displayed).
 23                Do you know anything about the damage to
 24   this automobile?
 25         A      No.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 60 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 60
  1           Q      Have you learned since the accident that
  2   your truck also caused damage to this automobile?
  3           A      No.
  4                  (Whereupon, Exhibit Number 8 was marked for
  5   identification purposes and made a part of the
  6   record.)
  7           Q      (By Mr. Pignato) Next photograph.
  8                  (Document is displayed).
  9                  Photograph showing the direction your
 10   vehicle took after it made impact with these homes
 11   and eventually came to a rest.
 12                  Have you seen this before?
 13           A      No.
 14           Q      Do you know where your vehicle came to a
 15   rest?
 16           A      No.
 17           Q      Do you know why it came to a rest?
 18           A      No.
 19           Q      Did you apply the brakes to make it come to
 20   a rest?
 21           A      I have no recollection of that day at --
 22   whatsoever.
 23                  (Whereupon, Exhibit Number 9 was marked for
 24   identification purposes and made a part of the
 25   record.)


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 61 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 61
  1         Q      (By Mr. Pignato) Next photograph.
  2                (Document is displayed).
  3                Do you have any recollection of your
  4   vehicle coming to a rest in this manner?
  5         A      No.
  6                (Whereupon, Exhibit Number 10 was marked
  7   for identification purposes and made a part of the
  8   record.)
  9         Q      (By Mr. Pignato) Next photograph.
 10                (Document is displayed).
 11                Or in this manner?
 12         A      No.
 13                (Whereupon, Exhibit Number 11 was marked
 14   for identification purposes and made a part of the
 15   record.)
 16         Q      (By Mr. Pignato) Next photograph.
 17                (Document is displayed).
 18                Another angle of the same position.           Do you
 19   have any recollection of being able to bring your
 20   vehicle to a stop?
 21         A      No.   No.
 22                (Whereupon, Exhibit Number 12 was marked
 23   for identification purposes and made a part of the
 24   record.)
 25         Q      (By Mr. Pignato) Next photograph.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 62 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 62
  1                (Document is displayed).
  2                This one shows some of the debris from one
  3   of the homes inside your windshield.
  4                Do you recall this?
  5         A      No.
  6         Q      Do you know if you were able to exit your
  7   door from the truck?
  8         A      No, it was not -- what they told me was
  9   that they took me out.
 10         Q      They took you out how?
 11         A      I -- I was unconscious at the time.
 12         Q      You don't know how they took you out of the
 13   truck?
 14         A      No, I don't.
 15               (Whereupon, Exhibit Number 13 was marked for
 16   identification purposes and made a part of the
 17   record.)
 18         Q      (By Mr. Pignato) Next photograph.
 19                Now, I'm going to mark all these as
 20   separate exhibits, and I admittedly haven't been
 21   keeping track of what they are.          We'll get -- we'll
 22   organize that in a little bit.
 23                Let me show you one more photograph.
 24                (Document is displayed).
 25                Mr. Milanovic, this is going to be an


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 63 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 63
  1   aerial view, I think maybe off of Google Earth or
  2   something similar.
  3                  Have you ever looked at an aerial view of
  4   the neighborhood in question?
  5           A      No.
  6           Q      Now, do you know whether or not you took
  7   out a guardrail before you left the roadway, or if
  8   you left the roadway just before the guardrails
  9   appeared?
 10           A      No.
 11           Q      If I represented to you, sir, by way of
 12   this red line, that this is the direction your
 13   vehicle took before it came to a stop, would you be
 14   able to dis- -- would you be able to disagree with
 15   that?
 16           A      I wouldn't disagree or agree.       I don't
 17   recall.
 18           Q      All right.
 19           A      I'll take your word for it.
 20           Q      Do you recall making any statements to the
 21   investigating trooper at the scene of the accident or
 22   at the hospital?
 23           A      I believe that he told me that I was lucky
 24   to be alive.
 25           Q      You do recall that statement being made?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 64 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 64
  1         A      Yeah.   Yeah.    Yeah, I do.
  2         Q      Was that in the hospital?
  3         A      Yeah, just before I left.
  4         Q      Was that a male or female officer?
  5         A      Male.
  6         Q      Was that an African-American male or a
  7   Caucasian male?
  8         A      It was a black guy, yeah.
  9               (Whereupon, Exhibit Number 14 was marked for
 10   identification purposes and made a part of the
 11   record.)
 12         Q      (By Mr. Pignato) I want to ask you -- I'm
 13   going to mark as the next exhibit the accident
 14   report.
 15                (Document is displayed).
 16                And, in particular, sir, on Bates 337 --
 17   I'm going to identify the Bates number for counsel in
 18   this case.     The accident report is Bates -- it's
 19   Farmers Mutual 333 through 339.
 20                Now, I know there's a couple different
 21   copies of this out there and I'm using the Farmers
 22   Mutual one, but they're the same.
 23                So if we could go to the officer's
 24   description of the accident found at the bottom of
 25   Bates 337, I want to go three lines from the bott- --


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 65 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 65
  1   three lines from the bottom in the far right where it
  2   says "Unit 1."        Let me know when you're -- I can't
  3   see because his face is --
  4          A      I'm there.
  5          Q      You're there.     You see where it says
  6   "Unit 1 driver states."         Do you see that?
  7                 "Unit driver states that he did not recall
  8   events prior to the collision and that he has no
  9   medical condition that should have caused
 10   unconsciousness."
 11                 Did I -- did I read that correctly?
 12          A      Sorry, a few -- a few places here.
 13          Q      Take your time.
 14          A      Yeah.
 15          Q      So here -- here's my question, then.
 16          A      Go ahead.
 17          Q      You just didn't recall any of the events
 18   prior to the collision?
 19          A      No.
 20          Q      Do you know why you left the roadway?
 21          A      No.
 22          Q      Did you fall asleep?
 23          A      I -- no, I don't think so, as it was still
 24   day.       So what they told me is that I had lost
 25   consciousness.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 66 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 66
  1           Q      Well, you lost consciousness after the
  2   impact with the homes, didn't you?
  3           A      How would I remember when that would have
  4   happened?
  5           Q      You don't know when you lost consciousness,
  6   do you?
  7           A      No.
  8           Q      You could have lost consciousness after you
  9   made impact with the houses, couldn't you?
 10           A      Again, I -- I -- I have no idea when that
 11   was.        All I know is I have no recollection of any of
 12   that.
 13           Q      You could have gone to sleep at the wheel.
 14   True statement?
 15           A      Say that again, please.
 16           Q      It is possible you --
 17                  MR. FRANZ:     Objection; calls for
 18   speculation.
 19                  MR. PIGNATO:     There's another objection.
 20                  MR. FRANZ:     I'll let him answer.
 21                  MR. PIGNATO:     No, no, no, no.    That's not a
 22   form objection.
 23                  MR. FRANZ:     Calls for speculation.      I'm
 24   instructing the witness to answer.
 25                  MR. PIGNATO:     You're instructing him to


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 67 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 67
  1   answer after you've just told him how to answer?
  2                MR. FRANZ:     I have not told him how to
  3   answer.     Counsel, just proceed with your deposition.
  4                MR. PIGNATO:     You're running a tab,
  5   Counsel.
  6         Q      (By Mr. Pignato) Mr. Milanovic --
  7         A      Yes.
  8         Q      -- is it possible you fell asleep?
  9         A      I do not think so as there's strips that if
 10   you fall asleep they -- they wake you.
 11                In my opinion, no, I do not think so.
 12         Q      If you fall asleep, who wakes you?
 13         A      The strips on the road.        They make a very
 14   loud sound.
 15         Q      How heavy was your vehicle at the time of
 16   this accident?
 17         A      I couldn't tell you.       I don't recall.
 18         Q      Do you recall what you were hauling?
 19         A      No.
 20         Q      You don't recall the weight of the cargo?
 21         A      No.    Every day it's different, so I would
 22   not know, sir.
 23         Q      You told the officer that you were not
 24   aware of any medical condition that have -- could
 25   have caused or should have caused your


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 68 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 68
  1   unconsciousness.
  2                Do you recall saying that?
  3          A     That's correct.      I don't recall anything
  4   at -- at the scene.        All I remember is at the
  5   hospital.     When he came up to me, that's what I
  6   remember towards me leaving, but other than that, I
  7   don't remember any conversation I had with him.
  8          Q     You're not aware of any medical condition
  9   that you had that would have caused you to become
 10   unconscious while driving, are you?
 11          A     No.
 12          Q     Prior to this accident, you had not
 13   previously ever suffered any unconsciousness, have
 14   you?
 15          A     No.
 16          Q     You weren't previously involved in any
 17   vehicular accidents, including trucks and autos,
 18   where you lost consciousness, were you?
 19          A     No.   No.
 20          Q     And you didn't have any medical conditions
 21   prior to this accident that caused you to lose
 22   consciousness, correct?
 23          A     No.
 24          Q     Now let's talk about since this accident.
 25                Have you seen any doctors or healthcare


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Ognjen Milanovic                                         March 15, 2023

                                                                Page 69
  1   professionals to try to find out why you may have
  2   lost consciousness on the day of this accident?
  3          A      Well, there at the hospital they told me
  4   that it wasn't uncommon.        They told me that they've
  5   dealt with it before.        And I guess the scans didn't
  6   show anything serious, so, yeah, like that.
  7          Q      Well, when they say --
  8          A      They took --
  9          Q      When they said to you they've "dealt with
 10   it before," how did you interpret that to mean?
 11          A      As they've dealt with it before.         They told
 12   me that a loss of consciousness wasn't entirely
 13   uncommon.
 14          Q      You were injured in that accident, weren't
 15   you?
 16          A      Yes.
 17          Q      You suffered an injury to your head, didn't
 18   you?
 19          A      Yes.
 20          Q      And you lost consciousness as a result of
 21   this accident, didn't you?
 22          A      I -- what they told me is that I was
 23   unconscious before it happened, so --
 24          Q      Now, who told you that?
 25          A      The doctors and somebody -- maybe the


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 70 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 70
  1   paramedics.     They told me that they saw me
  2   unconscious before it happened.
  3         Q      Now, how is it possible that the
  4   paramedics --
  5         A      I --
  6         Q      -- saw you unconscious --
  7         A      I -- I'm not -- no, no, no.         Sorry.    There
  8   was the paramedics.       There was -- I don't remember,
  9   but maybe the police.        When we were talking -- maybe
 10   it was with the police -- that they told me that
 11   before the incident happened, that I was stooped over
 12   the wheel.     Somebody did.      I don't recall whoever.
 13   It's still hazy.
 14         Q      I just want to make sure that I'm clear and
 15   that this record is clear.         Is it your testimony,
 16   sir, that you believe somebody told you that you were
 17   stooped over the wheel before you left the roadway?
 18         A      Yes.   Somebody at some point told me that.
 19   I -- I don't remember who.
 20         Q      Do you know how anybody could have seen you
 21   before you left the roadway?
 22         A      I think they said that somebody saw.              I
 23   don't know who.      I don't remember exactly.         Somebody
 24   that was there.      I don't know.      I don't remember.          It
 25   was obviously a traumatic event, so I don't recall


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 71 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 71
  1   everything.
  2         Q      But you would expect a trauma team at a
  3   trauma center to have the opportunity to see and
  4   treat patients who have been involved in auto
  5   accidents and rendered unconscious as a result of the
  6   accident, wouldn't you?
  7         A      I don't -- can you repeat the question
  8   again?
  9         Q      Yeah.   Don't trauma centers typically or
 10   often treat patients who have been involved in auto
 11   accidents?
 12         A      I suppose they do.
 13         Q      And would you -- do you think it's logical
 14   that a large number of those auto accident victims
 15   that go to trauma centers lose consciousness for a
 16   period of time after the accident?
 17         A      I'm not a medical professional.          I don't
 18   know who loses consciousness for what reason.
 19         Q      Have you read any of your medical records
 20   from this accident?
 21         A      No.
 22         Q      Aside from your attorney, has anyone told
 23   you what those records say?
 24         A      No.
 25         Q      Do you know if any of those records


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 72 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 72
  1   indicate that you lost consciousness before you left
  2   the roadway?
  3         A      I have no idea.
  4         Q      Do you agree with me, sir, that the CAT
  5   scans taken of your head and the rest of your body
  6   were normal?
  7         A      I have no idea what they showed.          You'd
  8   have to talk to the people that took those scans.
  9         Q      Well, they're in the records, but you
 10   haven't seen those records, have you?
 11         A      I -- I am not qualified to read CAT scan.
 12         Q      Do you recall --
 13         A      But the test was -- I recall vaguely
 14   talking to the doctor and -- yeah, vaguely, that it
 15   wasn't, I don't know, a brain tumor or something.
 16   So, yeah, vaguely.
 17         Q      And four hours after you were taken to the
 18   hospital, you left the hospital, didn't you?
 19         A      I don't remember how many hours it took.
 20         Q      You felt well enough to leave, though, when
 21   they said you could leave, didn't you?
 22         A      I vaguely remember that day whatsoever.           I
 23   don't think that I was -- in my opinion, I don't
 24   think I was ready to leave, but they told me and --
 25   what to do.     I left.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 73 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 73
  1         Q      So you believe it was the hospital doctors
  2   and staff who told you you had to leave?
  3         A      It was -- they did everything that they did
  4   and they gave me some new clothes and that was it.
  5         Q      Have you had -- experienced --
  6         A      I --
  7         Q      Go ahead.    I'm sorry.
  8         A      No, that's it.
  9         Q      Have you experienced a similar medical
 10   event or episode since the day of this accident?
 11         A      No.
 12         Q      Is it accurate, then, to say the one and
 13   only time in your life that you may have lost
 14   consciousness was on August 8, 2020, when you left
 15   the roadway?
 16         A      Yeah.
 17         Q      And you recognize, don't you, that it's
 18   possible that you drifted off to sleep prior to
 19   leaving the roadway, don't you?
 20         A      I don't think that was the case, no.
 21         Q      Have you seen any medical physician or
 22   professional since August 8, 2020, who has indicated
 23   to you that you suffered a medical event or episode
 24   causing you to leave the roadway?
 25         A      Say that again, please.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 74 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 74
  1           Q      Has any doctor told you, after August 8,
  2   2020, that you suffered some medical episode that
  3   caused you to lose consciousness?
  4           A      I think -- I think that I -- the last one
  5   told me that it -- it could have been due to fatigue
  6   and to dehydration or something; that it -- that
  7   there was too many variables for them to pinpoint why
  8   it happened.
  9           Q      Who told you that?
 10           A      But they told -- some doctor.       I can't
 11   recall.
 12           Q      Is it a doctor that you saw after August 8,
 13   2020?
 14           A      I don't recall.     I think the one at the
 15   hospital told me it was sudden loss of consciousness.
 16           Q      Have you seen any doctors since August 2020
 17   for the purpose of trying to find out why you lost
 18   consciousness on August 8, 2020?
 19           A      I don't think so.
 20           Q      In other words, in my effort to get all
 21   your medical records I have obtained medical records
 22   for August 8, 2020, the date of this accident.
 23   You're not aware of any other medical records?
 24           A      No, I don't think so.
 25           Q      And that's because you haven't seen any


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 75 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 75
  1   other doctors or healthcare providers about the
  2   possibility that you may have suffered or gone
  3   unconscious for a period of time on August 8, 2020.
  4   Is that a true statement?
  5         A      Say that again, please.
  6         Q      The reason you haven't -- hold on.
  7                MR. PIGNATO:     Tell you what, I'm ready to
  8   pass the witness.
  9                Rodney, go ahead.
 10                MR. FRANZ:     Hold on.    Mr. Milanovic, do you
 11   need a break at all?
 12                THE WITNESS:     Can I have a five-minute one?
 13                MR. PIGNATO:     Sure.
 14                MR. FRANZ:     Yeah, sure.     Of course.
 15                MR. STEWART:     Certainly.
 16                THE WITNESS:     Okay.    Thank you.
 17                (Recess taken from 3:14 p.m. to 3:19 p.m.)
 18                        DIRECT EXAMINATION
 19   BY MR. STEWART:
 20         Q      Mr. Milanovic, my name is Rodney Stewart.
 21   I represent a fellow by the name of Randy Lundy.
 22   Mr. Pignato showed you some pictures earlier of some
 23   damaged homes, and I'll tell you that Mr. Lundy owned
 24   one of those homes there.
 25         A      Okay.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 76 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 76
  1          Q      So I'm going second here, so that's good
  2   and bad.      There's a lot of questions that I might
  3   have that Mr. Pignato has already asked.             At the same
  4   time, I might repeat some of his questions and I
  5   apologize for that.        Okay?
  6          A      That's fine.     Just go ahead.
  7          Q      All right.     Let me start with your height
  8   and weight.
  9          A      5'10", 5'9".     Let's say 160, 170 pounds.
 10          Q      Earlier you were talking about the things
 11   you do to kind of stay in shape and stay active.               You
 12   mentioned swimming and -- and tennis when -- when
 13   weather permits on the tennis and soccer.
 14                 What else do you do?      Do you -- do you go
 15   to a gym?      Do you work out?
 16          A      No.   I don't go to a gym, but I try to stay
 17   active.      A bit of hiking, you know.       I would say I'm
 18   fit.
 19          Q      And you look fit.     In staying fit and any
 20   exercise that you've done over the years, have you
 21   ever experienced any difficulty with exercise, such
 22   as being lightheaded or dizzy?
 23          A      No.   No.
 24          Q      Have -- have you ever, while exercising,
 25   seen spots or stars while you were exercising?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 77 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 77
  1           A      No.
  2           Q      When you get up from a seated position or
  3   get out of bed from a -- from a prone position, do
  4   you ever get lightheaded upon standing?
  5           A      No.
  6           Q      Do you ever see spots or stars?
  7           A      No.
  8           Q      Okay.   Before the accident, the August 8,
  9   2020, accident, that brings us here today, had you
 10   ever had any history of losing consciousness for any
 11   reason?
 12           A      No.
 13           Q      Have you ever sustained any head injuries
 14   or concussions that you recall?
 15           A      No.
 16           Q      Have you ever had any episodes of blacking
 17   out or passing out before August 8, 2020?
 18           A      No.
 19           Q      So in -- I think you said you're 38 now, so
 20   you would have been roughly 36 at the time of the
 21   accident.       You had never blacked out or passed out or
 22   lost consciousness before in your lifetime.             Is that
 23   true?
 24           A      Yes.
 25           Q      How about fainting?     Some people use


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 78 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 78
  1   different terminologies.         Some might say blacking
  2   out, passing out, fainting are all the same thing.
  3   Some might say there's a difference.             A doctor might
  4   say there's a difference.
  5                But just so that I'm thorough here, have
  6   you ever had any difficulty with fainting before --
  7         A      No.
  8         Q      -- this accident?
  9         A      No.
 10         Q      Collapsing of any kind?
 11         A      No.
 12         Q      All right.
 13         A      No, nothing.
 14         Q      Before this accident, had you ever seen a
 15   doctor for any of those things?           Dizziness, for
 16   example.
 17         A      No.
 18         Q      Losing consciousness?
 19         A      No.
 20         Q      Blacking out?
 21         A      No.
 22         Q      Passing out?
 23         A      No.
 24         Q      Fainting or collapsing?
 25         A      Huh-uh.    No.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 79 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 79
  1           Q      And earlier I think you answered this.
  2   Sir, you don't have any chronic conditions such as
  3   high blood pressure, do you?
  4           A      No, not that I know of.
  5           Q      Diabetes?
  6           A      No.
  7           Q      Let's go back.   You said you had a
  8   girlfriend that was a doctor.          I suppose that could
  9   have its advantages and disadvantages.            You said --
 10           A      Somewhat.
 11           Q      You said from time to time she might, like,
 12   take your blood pressure in the living room or
 13   something, right?
 14           A      Yeah.    Yeah.
 15           Q      Was that for any particular medical reason
 16   or was she just -- you know, just something she did
 17   because she had the equipment?
 18           A      No, just to see.    You know, just like a
 19   general thing.         So, yeah, she would.     Like a pulse
 20   and pressure.        So, yeah, everything was normal.
 21           Q      Okay.    How long -- what time period was
 22   that?       I don't want to get into your personal life
 23   too much, but what time period?
 24           A      No, no, that's fine.     Say, like, three,
 25   four years ago.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 80 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 80
  1         Q      Okay.
  2         A      Yeah.
  3         Q      And how long was she your girlfriend?
  4         A      Maybe three years.
  5         Q      Okay.   So you and she -- if I've got the
  6   time line straight, the accident was about two and a
  7   half years ago.      And then about a year or so before
  8   that you had a three-year stretch where you had a
  9   doctor as a girlfriend?
 10         A      Yes.
 11         Q      Okay.   And you never had any health
 12   problems, she never had any concerns, and she would
 13   kind of give you kind of a perfunctory health exams
 14   at home?
 15         A      Yeah, you could say that.
 16         Q      Okay.   You've never -- you've never had any
 17   chronic conditions such as -- I think I covered high
 18   blood pressure -- diabetes?
 19         A      No, not that I know of, no.
 20         Q      You've never seen a doctor, had any chronic
 21   conditions associated with hyperglycemia or any other
 22   problems with your blood sugars or insulin?
 23         A      No.
 24         Q      As far as you know, you've never had any
 25   liver problems?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 81 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 81
  1         A      No.
  2         Q      Problems with your heart?
  3         A      No.
  4         Q      Lung problems?
  5         A      No.
  6         Q      Cancer?
  7         A      No.
  8         Q      So I think I understand.         You guys are on
  9   socialized medicine in Canada, as well as Serbia?
 10         A      Yes.
 11         Q      So you don't really have a -- here in the
 12   states we would call it a "primary care physician."
 13   Or Mr. Pignato, I think, called it a "general
 14   practitioner" or a "family doctor."
 15         A      We don't -- I don't have one here, no.
 16         Q      Okay.    And, likewise, what about
 17   pharmacies?     When you go to -- when you go to a
 18   pharmacy there in Serbia or Canada, is it like a --
 19   like we think of a pharmacy here like a CVS or a
 20   Walgreen's or something?
 21         A      Similar, yes.
 22         Q      Do you -- do you have a regular pharmacy
 23   that you go to in Serbia?
 24         A      Not really, since I don't take any
 25   medication.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 82 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 82
  1          Q      And same for Canada?
  2          A      No.
  3          Q      So -- so same deal with Canada, because you
  4   don't take any medications you didn't have a regular
  5   pharmacy?
  6          A      No, I don't, other than -- I don't remember
  7   the last time I took anything that required a -- a
  8   prescription.
  9          Q      Well, let me ask you about the differences
 10   between the countries.        Here in -- in the U.S. for
 11   most medications, except for what we call
 12   "over-the-counter medications," you have to have a
 13   doctor's prescription.
 14                 Is that true in Serbia and Canada that for
 15   a certain strength or type of medication --
 16          A      Other than Advil or Tylenol, regular stuff,
 17   yeah, you obviously do need the prescription, yes.
 18          Q      Okay.   And you don't recall the last time
 19   you had a prescription for anything?
 20          A      No, I don't.
 21          Q      Has it been longer than -- longer than five
 22   years?
 23          A      I would say yes.     Probably yes.      I had an
 24   ear infection years ago that I needed a prescription
 25   for.       That's the only thing I can remember.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 83 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 83
  1         Q      Okay.    And since the accident happened,
  2   since August 8th of 2020, I understand from your
  3   earlier testimony that you've had no episodes of
  4   dizziness; is that true?
  5         A      No.
  6         Q      So it is true?
  7         A      Yes.
  8         Q      Since the accident, have you lost
  9   consciousness?
 10         A      No.
 11         Q      Have you blacked out or passed out for any
 12   reason?
 13         A      No.
 14         Q      Fainted or collapsed for any reason?
 15         A      No.
 16         Q      Since the accident, have you had any
 17   unusual headaches?
 18         A      No.
 19         Q      Have you felt tired?
 20         A      No.    Well, at times, I guess.
 21         Q      Sure, we all get -- we all get tired, but
 22   anything unusual, like prolonged periods of tiredness
 23   or fatigue?
 24         A      No.
 25         Q      Have you -- since the accident, have you


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 84 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 84
  1   had any memory problems?
  2          A      No.
  3          Q      Since the accident, have you had any
  4   periods where you've -- where you've felt weak,
  5   weaker than normal?
  6          A      No.
  7          Q      So would it be accurate to say that in the
  8   ten days prior to the motor vehicle accident in
  9   August of 2020, you did not take any medications; is
 10   that true?
 11          A      No.   No, none.
 12          Q      So no medications?
 13          A      No.
 14          Q      I think we're getting several double
 15   negatives in here and that's my fault.
 16          A      No, no, no.    I -- I had nothing.       I hadn't
 17   taken anything.
 18          Q      All right.
 19          A      Like nothing -- not even Advil or nothing
 20   like that.
 21          Q      And before the accident, do you remember
 22   how long it had been since you had taken anything, an
 23   Advil, over the counter, prescription, anything at
 24   all?
 25          A      No.   It has been a long time.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 85 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 85
  1         Q      Years maybe?
  2         A      Probably.    I'm not one to take anything,
  3   even for headaches.       So it's been a while.
  4         Q      And then since the accident occurred, they
  5   may have given you some medication there at the
  6   hospital because my memory is that you were banged up
  7   pretty good.        You had a neck injury and an ankle
  8   injury, correct?
  9         A      Yep.
 10         Q      So they may have given you some
 11   medications, like pain medications, at the hospital.
 12         A      I -- I -- again, I have no recollection of
 13   that, so whatever they gave me, they gave me while I
 14   was semi-conscious, but after that I -- I took
 15   nothing.     As soon as I left, nothing.
 16         Q      All right.     So as far as you know, even
 17   if -- even if they gave you a sample or a few days
 18   supply at the hospital, you didn't --
 19         A      They didn't.
 20         Q      Okay.    You didn't take anything after you
 21   left the hospital?
 22         A      No.
 23         Q      No medications at all?
 24         A      Zero.
 25         Q      All right.     This is a broad question.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 86 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 86
  1                Since the accident, since August 8, 2020,
  2   have you taken any medications for any reason that
  3   you can think of?
  4         A      No.
  5         Q      Where you live -- and others may live there
  6   with you, so it may not be yours, but where you live,
  7   do you keep any medications on hand,
  8   over-the-counter-type medications like an Advil or a
  9   Tylenol or anything like that?
 10         A      In the apartment, I suppose there's
 11   over-the-counter stuff, yeah.
 12         Q      But it's not anything that you can think of
 13   that you've taken even a single dosage of since
 14   August of 2020?
 15         A      No.
 16         Q      On August the 8th, if you remember -- and
 17   I'm trying to understand a little bit about what you
 18   remember and what you don't.          So you have said
 19   several times in the deposition that you don't
 20   remember anything about that day.
 21                I want to -- I want to explore that a
 22   little bit.        Okay?
 23         A      Okay.    Go ahead.
 24         Q      So the records indicate -- that Mr. Pignato
 25   was showing you earlier, your logbooks --


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 87 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 87
  1         A      Uh-huh.
  2         Q      -- show that on that day, August the 8th,
  3   it appears that you started your day -- let me get
  4   there.
  5                And, Ms. Butterworth, can you -- can you
  6   put that back up again, the logbooks for the date of
  7   the accident, August the 8th.
  8                MR. PIGNATO:      Yeah, she's doing it.
  9                MR. STEWART:      Thank you, Jerry.
 10                MR. PIGNATO:      What day do you want?
 11                MR. STEWART:      August 8, which I believe is
 12   Highlight 348.
 13                (Document is displayed).
 14         Q      (By Mr. Stewart) So it appears,
 15   Mr. Milanovic, that you started your day in -- near
 16   Fancy Creek, Illinois.
 17         A      Okay.
 18         Q      Do you remember where you -- where you
 19   parked and slept that night?
 20         A      I do not.
 21         Q      Okay.    Is that because of, like, your
 22   injuries from the accident, or is that just because
 23   when you're a truck driver these things tend to run
 24   together?
 25         A      Option B.     I would say because they run


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 88 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 88
  1   together.
  2         Q      Okay.     I --
  3         A      It was some stop, but where -- yeah, I --
  4   just because it's so repetitive.
  5         Q      Do you have a general memory of -- of -- I
  6   think you started this direction -- Oklahoma
  7   direction, that is --
  8         A      Uh-huh.
  9         Q      -- in -- from Ontario, Canada, maybe a day
 10   or so before -- before this accident.
 11                Do you remember your -- like, the details
 12   of your trip?      Like, you went from Ontario to -- I
 13   don't know, I'm making this up -- Chicago, et cetera?
 14   Do you remember that?
 15         A      All -- I do -- what I vaguely remember is
 16   going down south -- southwest, obviously, towards
 17   southwest.     And other than that, I couldn't tell you
 18   at all where.      So --
 19         Q      Do you remember your -- do you remember
 20   your destination?
 21         A      I do not.
 22         Q      Okay.     And so Fancy Creek, Illinois,
 23   Joplin, Missouri, Choctaw, Oklahoma, these -- these
 24   places along your route that day, I take it you don't
 25   remember anything about any of those places; is that


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 89 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 89
  1   true?
  2           A      No.   It's just highway for me.       I know I've
  3   been through Joplin before, but other than that it's
  4   just highway.        So --
  5           Q      Okay.
  6           A      -- that's my recollection.
  7           Q      Do you have any way of recollecting what
  8   you ate and drank that day?
  9           A      No.
 10                  MR. STEWART:   Ms. Butterworth, if you
 11   could, leave -- keep that driver log handy, but --
 12   but stop sharing the screen in case we need to come
 13   back to it.
 14                  Thank you.
 15           Q      (By Mr. Stewart) So you don't remember --
 16   you won't be able to tell the Court and jury anything
 17   you ate or drank that day?
 18           A      No.
 19           Q      Generally, what was your -- what was your
 20   protocol?       Did you pack food with you when you would
 21   leave Ontario or -- or just stop along the way when
 22   you fueled, grab stuff from the truck stop?
 23           A      Mostly, yes, because at the border they
 24   would check for foods and, yeah, it's a problem if
 25   you have meat or whatever.         So on the way would be --


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 90 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 90
  1   there's restaurants and stuff at the stops, so
  2   regular breakfast, regular lunch at a diner, but
  3   exactly what it was, I could not tell you.
  4         Q      What did you tend to drink in the -- in the
  5   cab as you drove?        What was your drink of choice?
  6   What did you carry with you to drink?
  7         A      Water.     Lots of water.     Gatorade, things
  8   like that.
  9         Q      What about caffeinated beverages?          Are you
 10   a coffee drinker?
 11         A      I'm not.
 12         Q      Sodas?     Caffeinated sodas at all?
 13         A      No.
 14         Q      All right.    So your -- your drinks of
 15   choice were, like, water and Gatorade?
 16         A      Yeah, yeah.     Juice, orange juice, apple
 17   juice, things like that.
 18         Q      To the -- to the extent that you -- to the
 19   extent that you made purchases, expenses, along the
 20   way from Ontario to the location where the accident
 21   happened, what would have been your payment method?
 22                How would you have paid for food and -- and
 23   meals and that sort of thing?
 24         A      Cash.
 25         Q      Did you keep or maintain your receipts for


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 91 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 91
  1   any reason, or for bookkeeping purposes, or tax
  2   purposes?
  3         A      No.   No.    It's -- it's small dollar amounts
  4   and I wouldn't have been able to claim that anyways.
  5   That's -- I would get cash in Canada and then spend
  6   it along the way.        It was never a significant amount,
  7   five, ten dollars here and there and that's it.
  8         Q      I may have asked you this already.           If I
  9   have, I apologize.
 10                Since the accident -- since you left the
 11   hospital, let me put it that way.           Since you left the
 12   hospital shortly after the August 8, 2020, accident,
 13   have you seen a doctor for any reason?
 14         A      I don't think so.      I may have.      I don't
 15   recall.
 16         Q      If you may -- if you have in the last two
 17   and a half years -- and it wouldn't surprise me if
 18   you did -- did -- did any doctor's visit you've had
 19   in the last two and a half years pertain to the
 20   accident at all?
 21         A      I don't think so.
 22         Q      Did any doctor that you may have seen in
 23   the last two and a half years have anything to do
 24   with any medical condition that you were concerned
 25   about because of the accident?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 92 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 92
  1         A      I don't think so.      I may have asked -- I
  2   don't remember.       I may have asked in Canada during a
  3   checkup, but vaguely.        I -- I don't remember really.
  4         Q      I want to -- I want to drill down a little
  5   bit on what you just said.
  6         A      Go on.
  7         Q      So you're saying it's possible that
  8   sometime after the accident, upon your return to
  9   Canada, whenever you next had a regular checkup you
 10   may have mentioned the accident to the doctor?
 11         A      Yeah, I -- maybe here or in Canada.           I -- I
 12   really don't recall.
 13         Q      Let me ask it this way.
 14         A      I remember --
 15         Q      Go ahead.    Go ahead.
 16         A      No, I -- I did talk to my ex-girlfriend
 17   about it, though.        I remember that.
 18         Q      When you say you talked to her about it --
 19         A      Yes.
 20         Q      -- did you -- did you reach -- you all were
 21   not -- you had broken up.         You were no longer an item
 22   at the time of the accident, right?
 23         A      Yes.
 24         Q      All right.    But you were still on good
 25   enough terms that --


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 93 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 93
  1         A      Yes.
  2         Q      -- sometime between then and now you may
  3   have spoken with her?
  4         A      Yeah.
  5         Q      All right.    And you're saying that in one
  6   of your conversations with her you may have mentioned
  7   the accident?
  8         A      Yeah.
  9         Q      From a medical standpoint, did you have any
 10   questions for her or concerns, or were you just
 11   telling her generally that you had an accident?
 12         A      No, I just generally told her and just --
 13   because, obviously, I was worried.           And, yeah, it was
 14   something along the lines of, if the CAT scan or
 15   whatever, MRI are good, it's -- it's nothing too
 16   serious.     So something along those lines.
 17         Q      All right.    And the reason I think you're
 18   telling us that you were worried or concerned is that
 19   you don't know why you left the roadway and --
 20         A      No.
 21         Q      -- to the extent you may have a medical
 22   problem, it might be worth asking a doctor about?
 23         A      Yeah.   You know, all sorts of things go
 24   through your head.
 25         Q      All right.    So you don't -- if I were --


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 94 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 94
  1   I've got here on my list of questions to ask you the
  2   last thing you remember before leaving the roadway.
  3           A      It would be I was calculating where to take
  4   a break.
  5           Q      How do you go about that calculation?
  6           A      By following the signs.
  7           Q      What do you mean by "calculating"?         Are
  8   you -- are you saying you're just looking for a good
  9   place to pull over?
 10           A      Yeah.
 11           Q      Did you feel like you needed a break?
 12           A      I believe I had to take one.       It was -- I
 13   was running out of time legally.
 14           Q      Can you -- can you tell -- Ms. Butterworth
 15   can put the log back up.
 16                  Can -- can you tell us what you mean by you
 17   were "running out of time legally"?
 18           A      That's the best I can tell you.        What I
 19   believe was that at some point I had to stop.
 20           Q      So you -- you just remember there being --
 21   you having some sense of urgency that your -- that
 22   you needed to -- that you needed to take your break
 23   soon?
 24           A      Well, I wouldn't say a sense of urgency,
 25   like you always do that every day.           Where am I going


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 95 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 95
  1   to stop next?
  2                  MR. STEWART:   Yeah.    Ms. Butterworth, if
  3   you could, could you zoom in on this document and
  4   move it down slightly so we see the first entries of
  5   Yukon, Oklahoma?
  6                  (Document is displayed).
  7           Q      (By Mr. Stewart) Okay.      So if I'm
  8   interpreting this document correctly, you -- well,
  9   how do you interpret this?
 10                  So I see driving for three hours and 16
 11   minutes and 15 seconds.
 12           A      Uh-huh.
 13           Q      Kind of in the middle here where it says
 14   "Five miles east/southeast of Joplin, Missouri."
 15           A      Uh-huh.
 16           Q      And then the next entry says you were on
 17   duty.       And I think we've established that means the
 18   truck is not in motion, right?
 19           A      Uh-huh.
 20           Q      And so it -- so it appears that you were on
 21   duty, meaning not driving for three minutes and 11
 22   seconds near Choctaw.
 23           A      Uh-huh.
 24           Q      Yes?
 25           A      Yes.   That's what it says.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 96 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 96
  1         Q      Yes.    And then you drove another 27 minutes
  2   and 14 seconds?
  3         A      Uh-huh.
  4         Q      Same general location, nine miles north,
  5   northwest of Choctaw?
  6         A      Uh-huh.
  7         Q      And then you were on duty -- so -- so do
  8   you remember what was happening in Choctaw, Oklahoma?
  9         A      No, I -- I would not remember.
 10         Q      Okay.     So -- so being a truck driver, what
 11   do you -- three minutes and 11 seconds you stop
 12   driving.     So you were -- you had been driving for
 13   three hours and 16 minutes, according to this.
 14         A      Yes.    It could be a variety of things, such
 15   as a stop or -- I mean, it could be many different
 16   things.     But that goes automatic.        If it's -- if it
 17   stops, it automatically switches if it's not moving
 18   after a few minutes.
 19         Q      So -- so --
 20         A      So it could be --
 21         Q      So if you pulled over on the side of the
 22   road for some reason, stretch your legs, go to the
 23   restroom on the -- I'm not suggesting you use the
 24   shoulder of the road.        Okay?
 25         A      Yep.    Yeah.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 97 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 97
  1           Q      But if you pulled over for any reason, your
  2   vehicle was not moving for a few minutes --
  3           A      Uh-huh.
  4           Q      -- that would register as on duty?
  5           A      Or off, depends on the system, how it is.
  6   I'll put it on off, but it can be on.            I -- I don't
  7   know.       It does that on its own.
  8           Q      But what you think it's tied to is the
  9   vehicle not being in motion?
 10           A      Yeah, absolutely it is.      If it's -- if it's
 11   in motion, it would put me as driving, yes.
 12           Q      All right.   So I'm generally familiar with
 13   that route from Joplin to Choctaw and particularly
 14   the Choctaw part of it.
 15           A      Uh-huh.
 16           Q      And -- and I'm -- I'm telling you I don't
 17   believe you could have exited, gotten off the road
 18   somewhere at a business such as a truck stop or
 19   something like that, and then got back on the road
 20   and all of that in three minutes and 11 seconds.
 21   Okay?
 22           A      Okay.
 23           Q      So with that in mind, do you have any
 24   recollection, number one, or even any guesswork, as
 25   to what you were doing stopped in Choctaw, Oklahoma,


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 98 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 98
  1   for three minutes and 11 seconds?
  2          A      No, I have no idea.       Say if there's a
  3   traffic jam or something and I'm stopped, it would
  4   switch my status without me doing it.
  5          Q      But you don't remember that, either.             You
  6   don't remember a traffic jam or a traffic problem or
  7   anything like that?
  8          A      No, I don't recall, but that -- that
  9   happens daily.        Daily.     Every -- almost every single
 10   day.
 11          Q      All right.       So -- so the last -- so you
 12   have no recollection.           You will not be able to
 13   provide the Court or jury any evidence of why you
 14   went off duty near Choctaw, Oklahoma, for three
 15   minutes and 11 seconds?
 16          A      I don't recall.
 17          Q      Okay.    But the last thing you remember is
 18   sensing that it was -- it was time for a break and
 19   you were calculating, when is the next kind of
 20   opportunity by looking at the street signs?
 21          A      Yes.
 22          Q      Okay.    And do you remember what your
 23   thought process was in that regard, like what -- what
 24   you were looking for?           What is it about the road
 25   signs that would tell you, "Oh, this would be a good


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 99 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 99
  1   place for a break"?
  2         A      No.    In general it's the same every day of
  3   what I -- I will see.        If it's a service area or a
  4   stop 30 miles away or something like that.
  5         Q      All right.    So you might be looking for
  6   signage that indicated maybe lots of restaurants
  7   or -- or something like that?
  8         A      Anything.    There's always signs.        And
  9   generally you kind of have an idea.           If it's next to
 10   a city, there's always some, so, yeah, like that.
 11                GPS also tells you on the screen, next area
 12   40 miles or -- you know, you generally
 13   cross-reference.
 14         Q      So you indicated that in the -- in the U.S.
 15   you have a cutoff -- absolute cutoff at 11 hours of
 16   driving per day, correct?
 17         A      Yes.
 18         Q      If you look up at the top of this log in
 19   bold print on the right corner it says, "Ten hours,
 20   18 minutes, 45 seconds."        Agreed?
 21         A      Uh-huh.
 22         Q      Yes?
 23         A      Yes.
 24         Q      So is that what you're referring to?              You
 25   weren't looking just for your next break, you were


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 100 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 100
  1   looking for your overnight break, right?
  2          A      I suppose so.     I don't recall.
  3          Q      Well, you wanted to comply with the law,
  4   right?
  5          A      Yeah.
  6          Q      So you weren't going to drive beyond 11
  7   hours, were you?
  8          A      No.
  9          Q      Would you get some kind of alert or
 10   anything in your vehicle?         Would the computer take
 11   over or would you get some kind of message if you
 12   attempted to drive for more than 11 hours?
 13          A      Yes.
 14          Q      What does that sound like or look like?
 15          A      It just gives you a warning on the sign --
 16   on the -- it gives you like a pop-up that you --
 17          Q      When do you -- when do you start getting
 18   those pop-ups?        Say if you've got an 11-hour limit in
 19   the U.S. or a 13-hour limit in Canada, how long
 20   before that cutoff do you start getting the alerts?
 21          A      I think one hour.      I could be wrong, but it
 22   gives you -- it gives you enough that you would know.
 23          Q      Okay.    So you think -- now, looking at
 24   this, if it's true what the log shows is that --
 25   which is you drove for ten hours, 18 minutes and 45


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 101 of 127
Ognjen Milanovic                                          March 15, 2023

                                                               Page 101
  1   seconds before the collision.          You would have already
  2   been given -- you would have already received some
  3   alerts that it was time for you to break?
  4           A      Yeah, likely.
  5           Q      Okay.
  6           A      But you don't really need a -- you know,
  7   obviously, before -- if you start, you know, at a
  8   certain time you know when to finish at a certain
  9   time.       So --
 10           Q      When you start getting tired, right?
 11           A      Not really.     Actually, it's more when the
 12   time is coming up.
 13           Q      Well, what we do know from looking at this
 14   log is that you started the day at 5:00 a.m. in Fancy
 15   Creek, Illinois --
 16           A      Uh-huh.
 17           Q      -- and you crashed into these homes in
 18   Yukon, Oklahoma, at 5:40 in the afternoon, correct?
 19           A      Yeah.     Looks like it, yes.
 20           Q      Yeah.     So you had 12 hours of hard driving
 21   before this collision occurred.           Agreed?    Agreed?
 22           A      Yes.    Yes.
 23           Q      And do you recall, before the truck left
 24   the roadway, whether you were having any type of
 25   unusual symptoms?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 102 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 102
  1          A      No.
  2          Q      Were you feeling weak?
  3          A      No.
  4          Q      Dizzy?
  5          A      No.
  6          Q      Blurry vision?
  7          A      No.
  8          Q      Headaches?
  9          A      No.
 10          Q      Before the truck left the roadway, were you
 11   having any unusual sensations in your head?
 12          A      Not that I recall, no.
 13          Q      Your neck?
 14          A      No.
 15          Q      Your back?
 16          A      No.
 17          Q      Your abdomen?
 18          A      No.
 19          Q      Chest?
 20          A      No.
 21          Q      Shoulders?
 22          A      No.
 23          Q      Arms?
 24          A      No.
 25          Q      Hands?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 103 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 103
  1          A      No.
  2          Q      Legs?
  3          A      No.
  4          Q      Or feet?
  5          A      No, nothing out of the ordinary that I
  6   recall.
  7          Q      Let me ask you this.       What was your history
  8   of driving for the Defendant Highlight Motor Group
  9   before this collision?
 10          A      None.
 11          Q      Zero?
 12          A      Yes.
 13          Q      This was your first trip for HL Motor
 14   Group?
 15          A      Yes.
 16          Q      When did you last drive for another company
 17   before this collision?
 18          A      Maybe couple months before.
 19          Q      What was the name of that company?
 20          A      It was an owner/op- -- I'm not sure --
 21   owner/operator, so --
 22          Q      So you were in a truck for -- for an
 23   owner/operator?
 24          A      Yes.    They did many different companies.
 25          Q      That company was also based out of Canada?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 104 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 104
  1          A      Yes.
  2          Q      How long did you work for that company?
  3          A      I'm not sure.     Maybe a year or so,
  4   something like that.
  5          Q      What is it that you -- Mr. Pignato got into
  6   this just a little bit very early in your deposition
  7   when we first started.
  8                 So you -- you come to Canada, it sounds
  9   like, in part, to work, right?
 10          A      Yeah.
 11          Q      To -- to -- to drive trucks.         You've done
 12   that for the last five to seven years?
 13          A      Yes.
 14          Q      So what causes you to leave truck driving
 15   in Canada and -- and return to Serbia?
 16          A      I live here.
 17          Q      I -- I understand that, but you're in
 18   Canada and you're driving, presumably you're making
 19   good money, what causes you to -- to go back to
 20   Serbia and -- and not be employed?
 21          A      The good weather and the lifestyle, let's
 22   say.
 23          Q      All right.     So -- so I'm trying to get this
 24   out of you here.       I think we're getting somewhere.
 25                 So -- so you drive here -- here, Canada,


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 105 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 105
  1   North America.         You drive here, make some money, save
  2   up some money, you really don't have many expenses
  3   because you're sleeping in the truck, and when home
  4   starts calling, weather starts getting good, you
  5   return to Serbia for a while and -- and live off
  6   your -- the truck driving earnings you made?
  7           A      Yeah.
  8           Q      Is that the gist of it?
  9           A      Yes.
 10           Q      Doesn't sound like you do much work and
 11   haven't done much work in Serbia since you started
 12   truck driving?
 13           A      No.
 14           Q      Okay.    I'm not judging, I'm just trying to
 15   figure out your -- you know, kind of your patterns.
 16   Sounds like a pretty good deal to me, make some money
 17   and then go home and enjoy the nice weather and all
 18   that.
 19           A      Yes.
 20                  MR. STEWART:    All right.     Ms. Butterworth,
 21   you can take this exhibit down.
 22                  And let's mark that.      Have we done that,
 23   Jerry?       Have we -- have we made any exhibits thus
 24   far?
 25                  MR. PIGNATO:    Yeah.   In fact, I think the


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 106 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 106
  1   logs was Exhibit 1 and I think I did mark it as
  2   Exhibit 1.      I probably failed to mark the ensuing
  3   photographs.         And we can either do those separately
  4   after the depo or I can mark them collectively as
  5   Exhibit 2.
  6                 MR. STEWART:     If -- Michael, if you don't
  7   have any objection, we'll wait and do all the exhibit
  8   marking at the end.        Is that all right?
  9                 MR. FRANZ:     That's fine.
 10                 MR. STEWART:     All right.     Thank you.
 11          Q      (By Mr. Stewart) Okay.        So I -- I just told
 12   her to take them down, and now here I am returning
 13   back to the -- back to the logs.            I'm going to go
 14   through these just -- I don't -- I don't necessarily
 15   think we need them on the screen, but I just want to
 16   ask you if this is kind of consistent with your
 17   recollection.
 18                 Mr. Milanovic, this was your -- the trip in
 19   which the accident occurred was your first trip for
 20   HL Motor Group, right?
 21          A      Uh-huh.
 22          Q      Yes?
 23          A      Yes.
 24          Q      Now, is there a time zone difference
 25   between Ontario, Canada, and Central Standard Time


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 107 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 107
  1   Oklahoma?
  2          A      I believe it's one hour.
  3          Q      All right.    Now --
  4          A      I think.     I could be wrong.
  5          Q      So just going back, I'm just picking one of
  6   these days at random --
  7          A      Or two hours.        I'm not sure.
  8          Q      Okay.    So -- so you've got a time zone
  9   difference and this is your first trip for this
 10   company, right?
 11                 So I'm just looking back through these logs
 12   and -- and on August the 4th there's virtually no
 13   drive time, two minutes 18 seconds.            Do you -- do you
 14   know what that's about?
 15          A      No.
 16          Q      And then the next day, three minutes and 48
 17   seconds.      Any clue what that is?
 18          A      No.    Could have been the yard stuff, but --
 19          Q      Right.     Right.    Did you do any type of a
 20   driving test for them?            Could these -- could these
 21   logs reflect a driving test?
 22          A      Maybe.
 23          Q      It would be a pretty short driving test, I
 24   would think, two minutes and --
 25          A      I --


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 108 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 108
  1          Q      -- seconds, three minutes and 48 seconds.
  2          A      I would probably say that would be
  3   something in the yard because it always measures you
  4   moving.      So it would be something in the yard like
  5   re-parking or something, I would guess.
  6          Q      Well, they've got your name assigned to it.
  7   Did you go to the yard on August 4th and
  8   August 5th and just move the truck around the yard?
  9          A      Maybe.   I suppose, if it's my name, then,
 10   yes, but I don't recall.
 11          Q      All right.    So then on August the 6th we
 12   get the first significant driving day, and that was
 13   four hours 33 minutes and 28 seconds.            And I know
 14   you're probably not looking at this, but that's --
 15   the towns mentioned in the location are Brights
 16   Grove, Ontario, Edgeley, Ontario, and Woodbridge,
 17   Ontario.
 18                 Does any of that sound familiar, what you
 19   would have been doing for four hour -- four and a
 20   half hours on --
 21          A      Yes.
 22          Q      -- August 6th, two days before the
 23   accident?
 24          A      Yes.
 25          Q      Tell us about that.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 109 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 109
  1           A      It's -- Woodbridge would be by the border,
  2   so I guess heading down south.
  3           Q      So you think this was part of that same
  4   journey from Ontario to your des- -- ultimate
  5   destination?
  6           A      Yeah, could have been.       Sounds like it.
  7           Q      And then the day before the accident,
  8   August 7th, it shows you beginning your journey that
  9   day at Brights Grove, Ontario, and traveling all the
 10   way to Fancy Creek, Illinois, a total of nine hours
 11   and 55 minutes of drive time and 509 miles.
 12                  Does that sound right?
 13           A      Sounds like a typical day, yes.
 14           Q      Okay.    All right.
 15           A      Yep.    Yeah, it sounds like a typical day.
 16           Q      So I'm not sure what's going on with the
 17   screen.       It looks like maybe the shared screen is
 18   off, but there's a big black spot in the middle.                Or
 19   is that Mr. Milanovic's phone?           Is it -- has it gone
 20   dark?
 21                  There we go.    All right.     Thank you.
 22                  Okay.    If I were to ask you, sir, what you
 23   had to drink in the 48 hours before the collision, do
 24   you have any recollection of that?
 25           A      Water or juice, something like that.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 110 of 127
Ognjen Milanovic                                          March 15, 2023

                                                               Page 110
  1          Q      And I -- I detect in your answer that
  2   you're -- you're guessing at that kind of based on
  3   your norms?
  4          A      Yeah.
  5          Q      Yeah.   So would you be able, for example,
  6   to tell us how much water, how much juice, how much
  7   Gatorade?
  8          A      No.
  9          Q      Regarding your practices, would -- would it
 10   be your practice -- if you -- if you pulled over to
 11   get something to drink, would -- would it be your
 12   practice to buy, like, I don't know, a case of water,
 13   a case of Gatorade, a --
 14          A      Yeah.   Yeah.    Always.    Always.    There's
 15   some on the side, so, yeah, always.            How many depends
 16   on the day, you know.         I remember that day was pretty
 17   hot, so --
 18          Q      Okay.   What -- and I predict you are not
 19   wrong.      August in Oklahoma, August in Joplin,
 20   Missouri, I -- I predict it was really hot.              But
 21   what -- what causes you to remember that it was a
 22   really hot day?
 23          A      It's down south and coming back from up
 24   north, I would say that -- that it was pretty hot.
 25          Q      Is this the first time -- is this the first


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 111 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 111
  1   time in a long while that you had --
  2          A      No.
  3          Q      -- ventured so far south?
  4          A      No.   No.
  5          Q      Well, you previously drove for this other
  6   company a year or so before you started for the --
  7   the HL Motor Group.
  8          A      Uh-huh.
  9          Q      So had you driven down in this part of
 10   the -- part of the world in the summer heat?
 11          A      Yeah, I have, but -- I have, but, you know,
 12   you -- being from -- driving, I would say, from
 13   Canada, you -- you always notice a difference,
 14   obviously.      And, you know, older equipment, it -- the
 15   air conditioning is never as good as it should be,
 16   so, you know, you notice the heat obviously.
 17          Q      Yeah.     Do you remember thinking -- and this
 18   was your first trip for HL Motor Group.             Do you
 19   remember thinking that the -- that the air
 20   conditioning is not as good as it should be or you
 21   would like it to be?
 22          A      Yes, but it's -- with any older equipment,
 23   never is that -- what you want it to be.
 24          Q      Right.      So -- so you -- would you consider
 25   yourself a professional truck driver?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 112 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 112
  1          A     Yeah.
  2          Q     And you understand that you're operating a
  3   multi-ton piece of equipment that can cause serious
  4   injury, damages and --
  5          A     Yes.
  6          Q     -- you know, death and mayhem, right?
  7          A     Obviously.
  8          Q     And so to the extent that it's hot, you're
  9   in older equipment, maybe there's some air
 10   conditioning issues, maybe you're not drinking as
 11   much as you're supposed to, you understand that it's
 12   your job to stay hydrated while you drive?
 13           A    Yes.
 14           Q    And that if it's not safe to drive because
 15   you're dehydrated or because your equipment lacks
 16   sufficient air conditioning, it's your job to pull
 17   over until those situations can be remedied, right?
 18           A    I would agree with you there.
 19           Q    All right.      You can't just keep driving if
 20   you're dehydrated or hot and tired.             You understand
 21   that?
 22           A    Yes.
 23           Q    Because if you do, accidents like this can
 24   happen.     Agree?
 25           A    Agree.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 113 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 113
  1           Q      All right.    So since this accident occurred
  2   in August of 2020, other than whatever medical
  3   providers you saw at the hospital immediately
  4   afterwards, has any physician identified to you what
  5   caused you to run off the roadway?
  6           A      No.
  7           Q      And I want to stop and talk about that now.
  8   So -- so in responding to some of Mr. Pignato's
  9   questions I heard you say different things, and we
 10   need to pin you down because this is an important
 11   issue in the case.          Okay?
 12           A      Nothing to tell me 100 percent, so --
 13           Q      I -- I understand, but let's do what we can
 14   here.       Okay?
 15           A      Okay.
 16           Q      So you mentioned in -- in one of your
 17   answers to Mr. Pignato earlier that -- that someone
 18   at -- I think you said "at the hospital," but I want
 19   to clarify.          I want to be fair to you.
 20           A      Yeah, to the best of my recollection.
 21           Q      Yeah, somebody at the hospital said that
 22   you could have been fatigued or dehydrated.
 23           A      Yes.
 24           Q      Do you recall saying that?
 25           A      Yes.


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 114 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 114
  1          Q     And -- and was that a physician there at
  2   the OU Medical Center where you were taken?
  3          A     I don't recall who it was.          I talked to
  4   many people and I was groggy, so, yeah, I don't
  5   remember.
  6          Q     And then you also said, in response to one
  7   of Mr. Pignato's questions, that -- that someone at
  8   the hospital may have said you had a sudden loss of
  9   consciousness, right?
 10                Now, you would agree with me those are --
 11   those are two different -- I suppose they could be
 12   two different things, right?
 13          A     Yes.
 14          Q     If you're fatigued and dehydrated, I
 15   suppose you could pass out and lose consciousness,
 16   right?
 17          A     Yes.
 18          Q     But fatigue and dehydration would be
 19   something within your control.           You agree with that?
 20          A     Sure.
 21          Q     All right.      If you're feeling dehydrated,
 22   if you're feeling fatigued, it's time to pull over
 23   and stop driving.        Agree?
 24          A     Uh-huh.
 25          Q     Yes?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 115 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 115
  1          A      Yes.
  2          Q      You shouldn't keep driving if you're
  3   fatigued and dehydrated to the point that you lose
  4   consciousness and run off the roadway, right?
  5          A      Correct.
  6          Q      And if that's what occurred here, you would
  7   agree the accident would be your fault, and by
  8   extension, the fault of HL Motor Group.             Agree?
  9          A      I wouldn't -- I didn't feel that way so I
 10   don't know how I can agree with that.
 11          Q      Well, when you say you didn't feel that
 12   way, you've kind of said some different things here
 13   today.      You've -- you've indicated you don't remember
 14   that day at all.         Okay?   You've said that many times
 15   throughout the deposition.
 16                 You've also said that -- that -- that you
 17   remember needing to take your break, that you felt
 18   like you were looking for your next break stop,
 19   right?
 20          A      Yes, that is -- I remember the -- wanting
 21   to pick the break.
 22                 Other than that, meaning the day,
 23   significant parts of it, meaning what happened there,
 24   that, I do not remember.
 25          Q      Right.     So --


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 116 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 116
  1           A      The only thing I remember is I was planning
  2   on stopping at some point.
  3           Q      All right.   But --
  4           A      That's the only thing I remember.         I don't
  5   remember being fatigued or thirsty or anything like
  6   that.       I really do not.
  7           Q      Okay.   But you also don't remember the
  8   reverse of that.        You don't remember feeling, "Hey,
  9   I'm not fatigued.        I feel great.     Life is good, I
 10   could keep going for another 500 miles."             You don't
 11   remember feeling that, either, right?
 12           A      I have never felt that in my life, no.
 13           Q      Okay.   Well, I'm just trying to figure out,
 14   are -- are you saying you were not feeling fatigued
 15   or you were not dehydrated, or are you simply saying
 16   you don't recall feeling either of those things?
 17           A      I don't -- if I had felt that, which I have
 18   in the past, I would have done something about it,
 19   but I don't remember feeling that.
 20           Q      And the something you would have done about
 21   it would be look for a place to pull over and take a
 22   break, right?
 23           A      Yeah, there's always somewhere close by.
 24           Q      Okay.   And, in fact, that's the last thing
 25   you remember is looking for a place to pull over and


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 117 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 117
  1   take a break?
  2          A      Yes.
  3          Q      And can you tell us, with any degree of
  4   certainty, who at the hospital said these various
  5   things to you, "fatigue, dehydration, loss of
  6   consciousness," any of that?
  7          A      I really don't know.       There's many nurses
  8   and doctors.         I -- I don't know.    I really cannot
  9   recall.
 10          Q      And I understand and we lawyers have to
 11   work through some -- some different legal issues and
 12   so I want to give you a fair chance to -- you know, I
 13   don't want to cut you off.          In fact I want to do the
 14   opposite.      I want to get as much out of you as I can
 15   regarding who said what.
 16                 And so to the extent someone at the
 17   hospital said anything to you like, "You had this
 18   unexplained medical condition that caused you to run
 19   off the road," then we need to drill down and
 20   identify who that person was as best we can.
 21                 I know you may not know their name.          I
 22   respect that, but -- but, number one, did anybody say
 23   anything like that, that you had a medical condition
 24   that caused you to run off the roadway?
 25          A      They -- they said that it was some type of


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 118 of 127
Ognjen Milanovic                                         March 15, 2023

                                                                Page 118
  1   loss of consciousness.        I don't know who.       I don't
  2   know, again, their names.         I -- I --
  3          Q      You don't remember their title or what they
  4   were wearing or -- or --
  5          A      No.
  6          Q      -- or anything like that?
  7          A      I didn't even know why I was there.          I was
  8   so confused.        So, yeah, I just asked what I'm doing
  9   there anyway.       So, yeah, I was just looking for
 10   answers.      I didn't have time for that.         I was just so
 11   confused and scared, to be honest.            So, yeah.
 12          Q      Well, speaking of looking for answers, all
 13   right -- and I would assume you would want an answer
 14   as to why you ran off the road two and a half years
 15   ago and ran into these houses and these cars.
 16                 To this day, in two and a half years, have
 17   you ever been given a diagnosis of a medical event
 18   that caused you to run off the road?
 19          A      I don't recall, no.
 20          Q      And are you aware of any diagnostic tests
 21   or lab results, chemistry results, et cetera, that
 22   would explain why you may have lost consciousness?
 23          A      Not that I know of.
 24          Q      Is that truck, provided to you by HL Motor
 25   Group, did it -- was it equipped with cameras?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 119 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 119
  1          A      I'm not sure.
  2          Q      You don't recall that as part of your
  3   training or something that you observed as you drove
  4   down the road?
  5          A      No.    A lot of them are, some aren't.            So
  6   maybe they were there, maybe they're not.
  7          Q      You wouldn't know -- you wouldn't know what
  8   to look for?
  9          A      I don't recall.
 10          Q      Have you ever driven a truck that has a
 11   driver-facing camera?
 12          A      I don't recall.
 13          Q      You know what I'm talking about?          Some
 14   companies will have a camera that -- that is a dash
 15   camera that points out at the road ahead and some
 16   companies will --
 17          A      Yeah, yeah, I'm aware of that.         But if you
 18   look at the screen, I don't know what's a camera,
 19   what isn't.         Honestly, I don't care.     So if it's
 20   there, it's there, if it's not, it's not.             So I don't
 21   know if it had one or not.
 22          Q      Have you -- have you driven for this
 23   company since your accident?
 24          A      No.
 25          Q      Did they terminate you as a result of the


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 120 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 120
  1   accident?
  2          A      I believe so.
  3          Q      Did they tell you why they were terminating
  4   you?
  5          A      No.
  6          Q      Did you ask?
  7          A      No.    I -- well, kind of.      They just wanted
  8   to know what happened, and I'm telling you what I
  9   told them is the same thing.          So, yeah, that was the
 10   end of that.
 11          Q      Did they tell you that they believed you'd
 12   done anything wrong or improper?
 13          A      No, I don't think so.
 14          Q      How about the opposite.       Did they tell you
 15   you did everything right and it wasn't your fault?
 16          A      I don't remember what we talked about, to
 17   be honest.
 18          Q      Okay.
 19          A      Specifically.
 20          Q      So you -- we know that you went to the
 21   hospital because of your injuries.
 22                 Do you know whether you underwent any drug
 23   and alcohol screening while you were there?
 24          A      Yes.
 25          Q      Have you ever been told the results?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 121 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 121
  1          A      Yes.
  2          Q      And what was that?
  3          A      That I was clean.
  4          Q      Did HL Motor Group require you to complete
  5   any paperwork as a result of the accident, like an
  6   incident report or an accident report?
  7          A      I don't recall.
  8          Q      If -- if they would have asked you to, even
  9   though they fired you, would you have filled out
 10   their paperwork?
 11          A      Sure, I guess.
 12          Q      Did they fire you over the phone while you
 13   were still in Oklahoma?
 14          A      I don't recall.     I don't think so.       I don't
 15   recall.
 16          Q      How did you get back to Canada?
 17          A      Another employee drove me.
 18          Q      Explain.
 19          A      He was in the area.
 20          Q      So HL Motor Group had a truck driver in the
 21   area that picked you up from your hotel and you just
 22   rode with him back to Canada?
 23          A      Yes.
 24          Q      How long were you here before you got
 25   picked up?


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 122 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 122
  1          A     Like, a day.
  2          Q     Just one night in the hotel?
  3          A     Yeah, I think so.
  4          Q     Okay.    Did -- when you got back to Canada,
  5   did you go to HL Motor Group's headquarters and talk
  6   to anybody?
  7          A     Not that day.
  8          Q     At any time, did you go to their
  9   headquarters?
 10          A     Yes.
 11          Q     Okay.    But you don't remember whether you
 12   filled out any paperwork or not?
 13          A     I don't recall, no.
 14          Q     After the accident -- I assume you had a
 15   cell phone with you?
 16          A     Yes.
 17          Q     After the accident, did you make any phone
 18   calls or text messages to anyone regarding the fact
 19   that you'd been in an accident?
 20          A     I -- I assume so.       I don't remember who
 21   exactly.
 22                You mean the company or what?
 23          Q     Any -- well, the company, maybe a loved
 24   one, a friend back home, anything like that?
 25          A     Sure.    I'm sure I did.       I don't remember


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 123 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 123
  1   exactly who, but I'm sure I did.
  2          Q      I assume this was a personal cell phone as
  3   opposed to a company-issued phone?
  4          A      Yes.
  5          Q      Who is your -- at the time, who was your
  6   phone service with?
  7          A      I'm not sure.     I -- in the states I used a
  8   pre-paid one.        I'm not sure who it was.
  9          Q      All right.
 10          A      Because you can get one at a stop, like
 11   pre-paid ones.        Yeah, pre-paid.      It's cheaper to use
 12   those, so I'm not sure who it was.            You just buy them
 13   off the rack.
 14          Q      Have you returned to truck driving since
 15   the accident?
 16          A      No.
 17          Q      Is there a reason for that?
 18          A      I -- no.     I don't know.     Personal reasons,
 19   I suppose.
 20          Q      It's not due to any medical condition or
 21   illness or anything like that?
 22          A      No, I just like it here in Europe.          That's
 23   it.
 24                 MR. STEWART:    Gentlemen, I think I am just
 25   about wrapped up.        Let me check these notes and then


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 124 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 124
  1   let's take just a few minutes and maybe Jerry and I
  2   can collaborate and see if we're about done.              So
  3   let's take a five-minute break.
  4                 MR. PIGNATO:     You bet.
  5                 (Recess taken from 4:20 p.m. to 4:25 p.m.)
  6                 MR. STEWART:     All right.     So, counsel, this
  7   will confirm that the discussion that we had off the
  8   record we'll put now on the record that the parties
  9   stipulate and agree that the questions and answers
 10   from the two plaintiff lawyers today will be allowed
 11   to be used in both cases for trial in the event that
 12   the cases should be bifurcated or separated for trial
 13   purposes.      Agreed?
 14                 MR. FRANZ:     Agreed.
 15                 MR. PIGNATO:     Agreed.
 16          Q      (By Mr. Stewart) All right.        Mr. Milanovic,
 17   I have two more short topics for you.
 18                 The first is with regard to the damages
 19   sustained by -- by the -- the parties whose property
 20   was damaged and destroyed as a result of the
 21   accident.
 22                 Would it be accurate to say, since you
 23   don't know anything about those damages and never
 24   even saw photographs of those damages until today,
 25   that -- that you don't -- you won't offer any


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 125 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 125
  1   evidence or personal opinion regarding the amount or
  2   the extent of those damages, true?
  3          A      I would have no idea.
  4          Q      And then finally, sir, we are scheduled for
  5   trial in this case in September of this year.              Do you
  6   have any idea what your plans are for September of
  7   2023 in -- specifically what country you will be in?
  8          A      Here.
  9          Q      Serbia?   So you have no intentions of
 10   returning to North America?
 11          A      No.
 12          Q      All right.     And you may want to discuss
 13   this with your counsel, but -- but do you have any
 14   intentions of appearing live in the Western District
 15   of Oklahoma to appear in person for trial?
 16          A      Am I obligated to do so?
 17          Q      Well, that will be between you --
 18                 MR. FRANZ:     We can talk about that,
 19   Mr. Milanovic.
 20          Q      (By Mr. Stewart) Yeah.       All right.     I think
 21   I hear you telling me, Mr. Milanovic, if you are
 22   required to be here, that -- that you will be, if
 23   you're not required, you won't be.            Is that fair?
 24          A      Fair.
 25                 MR. STEWART:     Okay.   With that, I have no


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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 126 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 126
  1   further questions.
  2                MR. FRANZ:      No questions.
  3                MR. PIGNATO:      No further questions.
  4                MR. STEWART:      Mr. Milanovic, under the
  5   rules that are applicable here --
  6                MR. FRANZ:      We'll waive.
  7                MR. STEWART:      Okay.    Very good.
  8                Do you accept your attorney's advice and
  9   waive your ability to read and sign this deposition?
 10                THE WITNESS:      I do.
 11                MR. STEWART:      All right.     Thank you.        With
 12   that, we will end the deposition as well as the
 13   record, but, counsel, if you would stay on the Zoom
 14   conference for just a bit.
 15                (Deposition adjourned at 4:28 p.m. CST)
 16                              * * * * * *
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  Case 5:22-cv-00699-F Document 24-3 Filed 06/19/23 Page 127 of 127
Ognjen Milanovic                                         March 15, 2023

                                                               Page 127
  1                       C E R T I F I C A T E
  2
      STATE OF OKLAHOMA  )
  3                      )        SS:
      COUNTY OF OKLAHOMA )
  4
  5                I, Jana C. Hazelbaker, Certified Shorthand
  6   Reporter within and for the State of Oklahoma, do
  7   hereby certify that OGNJEN MILANOVIC, was by me first
  8   duly sworn to testify the truth, the whole truth, and
  9   nothing but the truth, in the case aforesaid; that
 10   the above and foregoing videotaped videoconference
 11   deposition was by me taken in shorthand and
 12   thereafter transcribed; that the same was taken on
 13   MARCH 15, 2023, located in BELGRADE, SERBIA; that I
 14   am not an attorney for nor relative of any of said
 15   parties or otherwise interested in the event of said
 16   action.
 17                IN WITNESS WHEREOF, I have hereunto set my
 18   hand and official seal this 20th day of March, 2023.
 19
 20
 21
                     ----------------------------
 22                  Jana C. Hazelbaker, CSR
                     State of Oklahoma CSR No. 1506
 23
 24
 25


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